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                IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF DELAWARE

CLAUDE L. PATTERSON, Derivatively
on Behalf of CANOO INC., f/k/a
HENNESSY CAPITAL ACQUISITION
CORP. IV,
                 Plaintiff,
        v.                           Civil Action No.
DANIEL J. HENNESSY, NICHOLAS A.
PETRUSKA, BRADLEY BELL, PETER
SHEA, RICHARD BURNS, JAMES F.        DEMAND FOR JURY TRIAL
O’NEIL III, JUAN CARLOS MAS,
GRETCHEN W. MCCLAIN, GREG
ETHRIDGE, ULRICH KRANZ, TONY
AQUILA, PAUL BALCIUNAS,
HENNESSY CAPITAL PARTNERS IV
LLC, HENNESSY CAPITAL GROUP
LLC, THOMAS DATTILO, FOSTER
CHIANG, RAINER SCHMUECKLE,
JOSETTE SHEERAN and DEBRA VON
STORCH,
                 Defendants,
     – and –
CANOO INC., f/k/a HENNESSY
CAPITAL ACQUISITION CORP. IV, a
Delaware corporation,
                Nominal Defendant.


        VERIFIED STOCKHOLDER DERIVATIVE COMPLAINT FOR
      VIOLATIONS OF THE FEDERAL SECURITIES LAWS, BREACH OF
             FIDUCIARY DUTY, AND UNJUST ENRICHMENT
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         1.    This stockholder derivative action is on behalf of nominal defendant Canoo Inc.,

f/k/a Hennessy Capital Acquisition Corp. IV (“Canoo” or the “Company”) against the

Company’s (and its predecessor’s) officers and directors for breaches of fiduciary duty, unjust

enrichment, indemnification, contribution, and violations of the federal securities laws.

Defendants’ actions have caused, and will continue to cause, substantial financial and

reputational harm to Canoo.

         2.    Hennessy Capital Acquisition Corp. IV (“HCAC IV”) is a special purpose

acquisition company (“SPAC”) – sometimes called a “blank check” company – formed for the

sole purpose of acquiring an existing business. HCAC IV, which had no commercial operations

of its own, went public in its March 5, 2019 initial public offering (“IPO”), raising $300,150,000,

with its units, Class A common stock and public warrants trading on the NASDAQ stock

exchange under the ticker symbols “HCACU,” “HCAC,” and “HCACW” following the IPO.1

At the time, HCAC IV stated that “[w]hile the Company may pursue an initial business

combination target in any business, industry, sector or geographical location, it intends to focus

its search on target businesses in the industrial, infrastructure solutions and value-added

distribution sectors in the United States.”

         3.    Under the terms of its IPO, HCAC IV was required to redeem all its publicly

traded shares if it failed to complete a business combination within 18 months of the offering.

         4.    With just one month left on its 18-month window to complete a business

combination, HCAC IV identified its acquisition target in early August 2020: Canoo Holdings,


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       Simultaneously with the closing of the IPO, HCAC IV completed the private sale of
13,581,500 warrants (the “private placement warrants”) for gross proceeds of approximately
$13.5 million. The private placement warrants were sold to defendant Hennessy Capital Partners
IV LLC, as well as certain funds and accounts managed by subsidiaries of BlackRock, Inc. at
$1.00 per private placement warrant.


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Ltd. (“Canoo Holdings”), “a mobility technology company, leading a transformation in the way

electric vehicles (EVs) are designed, engineered, and manufactured to capitalize on the true value

proposition of an EV.” Using a “breakthrough EV platform,” the “skateboard,” which is

purposefully built to be highly modular and facilitate rapid development of multiple vehicle

programs in both the commercial and consumer markets, Canoo Holdings said it “expects to

launch its first consumer model in 2022, simply named the canoo and available by subscription,

followed shortly after by a multi-purpose delivery vehicle and a sport vehicle, each built off of

the same underlying platform.”

         5.    On August 18, 2020, HCAC IV and Canoo Holdings announced that they had

entered into a merger agreement and plan of reorganization through which Canoo Holdings

would become a publicly traded company (the “Merger”). Upon the closing of the Merger,

HCAC IV would be renamed “Canoo Inc.” and its Class A common stock and public warrants

would continue to be listed on the NASDAQ and traded under the symbols “GOEV” and

“GOEVW,” respectively.       After the Merger, each share of Class A common stock was

automatically reclassified into one share of Canoo common stock.2

         6.    In connection with the Merger announcement, HCAC IV and Canoo Holdings

highlighted the importance of the Company’s engineering and technology services business,

which they highlighted as “a unique opportunity to generate immediate revenues” in advance of

the post-merger company’s first electric vehicle (“EV”) offering. They also represented that

Canoo Holdings’ engineering and technology services business was expected to generate a

compounded average growth rate (“CAGR”) of 39%, and that its “current pipeline in this area is


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       Upon the closing of the Merger, each HCAC IV unit separated into one share of common
stock and three-quarters of one warrant, and, as a result, the HCAC IV units were not listed on
the NASDAQ following the consummation of the Merger.


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supportive of a projected $120 million of revenue in 2021.” Moreover, HCAC IV and Canoo

Holdings stated that financial projection models around the Company’s engineering and

technology services business were “sustainable,” not built on short-term initiatives, and designed

with a “very conservative ramp-up.”

       7.      In connection with the August 18, 2020 Merger announcement, HCAC IV and

Canoo Holdings also highlighted Canoo Holdings’ agreement with Hyundai Motor Company

(“Hyundai”) to jointly develop an EV platform for future Hyundai models, which they

emphasized as evidence of the significant demand for EVs.

       8.      Thereafter, HCAC IV and Canoo Holdings continued to promote the Merger. For

example, in a September 24, 2020 presentation to analysts and investors, they represented that

Canoo’s “realistic approach to volumes and thoughtful go-to-market strategy ensure consistent

revenue growth scalability while leaving upside for other opportunities like skateboard

licensing,” Canoo’s “two-pronged subscription and sales model allows for expected long-term

cash flow generation, and as [the Company] scale[s] up the volume of B2C and B2B vehicles,

[Canoo] expect[s] strong margin expansion.” HCAC VI and Canoo Holdings further represented

that the Company’s engineering and technology services business enjoyed strong partnerships

with major automotive original equipment manufacturer (“OEMs”), including Hyundai which

they represented had chosen Canoo as its EV partner to jointly develop an all-electric platform

based on Canoo’s skateboard design for Hyundai and Kia EVs and purpose-built vehicles.

       9.      As 2020 continued to unfold, the buzz around the proposed Merger intensified.

For example, on December 6, 2020, an article entitled “Canoo Bulls Should Buckle up as the

Company’s Merger With the SPAC Hennessy Capital Acquisition Corp. IV (NASDAQ: HCAC)

Will Likely Be Formalized on the 21st of December,” reported that:




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       Canoo plans to engage an OEM to produce its vehicles, thereby reducing its
       CAPEX requirements. As far as financial projections are concerned, the company
       expects to earn a revenue of $120 million in 2021. This top-line metric, however,
       is expected to swell to $1.43 billion by 2024 and to a whopping $4.12 billion by
       2026.

       10.     On December 7, 2020, HCAC IV announced that it would hold a Special Meeting

of its stockholders to vote on the proposed Merger on December 21, 2020. As the meeting date

approached, the Company continued to promote the proposed Merger through positive press

releases about Canoo Holdings’ EVs.

       11.     For example, on December 17, 2020, Canoo Holdings announced its new fully

electric multi-purpose vehicle, with limited availability beginning in 2022, and with scaled

production and launch planned for 2023. The press release stated:

       Canoo, a company developing breakthrough electric vehicles (EVs), revealed
       today its all-electric multi-purpose delivery vehicle to be priced starting at
       approximately $33,000. The vehicle is purposefully designed to maximize return
       on investment for its customers. It is based on Canoo’s proprietary electric
       platform and will be offered in two initial size variants, with others to follow.
       Limited availability will begin in 2022, with scaled production and launch
       planned for 2023. With its multi-purpose delivery vehicle, Canoo plans to offer
       customers best-in-class total cost of ownership, class-leading cargo volume, and
       functionally-designed features. Customers can pre-order the multi-purpose
       delivery vehicle for a refundable deposit of $100 per vehicle at
       www.canoo.com/mpdv.

Footnotes omitted.

       12.     One week later, HCAC IV stockholders approved the Merger at the Special

Meeting. On December 21, 2020, HCAC IV and Canoo Holdings issued a press release

announcing the successful stockholder vote and the closing of the business combination.

       13.     Post-Merger, Canoo continued to aggressively promote its business to bolster its

ongoing efforts to raise additional capital. For example, on January 12, 2021, an article entitled

“Exclusive: Apple held talks with EV startup Canoo in 2020” appeared in The Verge, leaking

that “Apple held meetings with California EV startup Canoo in the first half of 2020 as part of


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the Silicon Valley giant’s secretive effort to advance its own electric vehicle project.” People

familiar with the talks also told The Verge that “[t]he two companies discussed options ranging

from investment to an acquisition.”

         14.   Similarly, in early January 2021, the Company announced its Board of Directors’

(the “Board”) “‘wealth of knowledge and experience with public companies . . . will help Canoo

capitalize on the major opportunities we see in the electric vehicle market today.’”

         15.   On January 13, 2021, Canoo filed a shelf Registration Statement on Form S-1 (the

“Shelf Registration Statement”) with the U.S. Securities and Exchange Commission (“SEC”), in

which the Company announced its intent to sell additional shares of Canoo common stock and

warrants, raising up approximately $280.1 million from the exercise of the warrants, assuming

the exercise in full of all of the warrants for cash. The “Selling Shareholders” – including most

of the Individual Defendants (Daniel J. Hennessy, Nicholas A. Petruska, Bradley Bell, Peter

Shea,          Richard            Burns,           James            F.          O’Neil           III,

Juan Carlos Mas, Gretchen W. McClain, Greg Ethridge, Ulrich Kranz, Tony Aquila and Paul

Balciunas) – registered for sale more than $97.3 million worth of their individual holdings of

Canoo Holdings.3

         16.   A majority of the current members of Canoo’s Board signed the Shelf Registration

and caused it to be filed with the SEC and disseminated to Canoo stockholders. This includes

defendants Tony Aquila, Foster Chiang, Thomas Dattilo, Greg Ethridge, Rainer Schmueckle,



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         Specifically, the Shelf Registration Statement registered for sale: (i) 186.6 million shares
of Canoo common stock by certain selling security holders, including the Individual Defendants
and/or certain of their affiliates; (ii) 22.5 million shares of Canoo common stock issuable upon
the     exercise     of     the    public      warrants     by    the    holders     thereof;    and
(iii) 1.8 million shares of Canoo common stock issuable upon the exercise of the private
placement warrants by the holders thereof.


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Josette Sheeran and Debra von Storch. Defendant Paul Balciunas, Canoo’s Chief Financial

Officer (“CFO”), also signed the Shelf Registration Statement.

       17.     The Shelf Registration Statement carried forward many of the material

misrepresentations and omissions first made in connection with the Merger and thereafter. For

example, the Shelf Registration Statement stated with respect to Canoo’s engineering and

technology services business, the sole line business that had been developed to the point of

generating any revenue, that it provided Canoo with “a unique opportunity to generate immediate

revenues” in advance of its first EV offering.

       18.     The Shelf Registration Statement also stated with respect to Canoo’s engineering

and technology services business – the sole line business that had been developed to the point of

generating any revenue – provided the Company with “a unique opportunity to generate

immediate revenues in advance of the offering of our first vehicle and our current pipeline in this

area is supportive of a projected $120 million of revenue in 2021.”

       19.     The Shelf Registration Statement further stated with respect to potential revenue

growth opportunities that Canoo’s engineering and technology services business is expected to

“offer significant growth potential in the future as projected demand grows for EVs and their

related technologies, namely in platform/skateboard development, powertrain, battery

technologies and power electronics, among other areas, in which we have substantial expertise.”

       20.     The Shelf Registration Statement further stated with respect to the Company’s

engineering and technology services business that, “[i]n addition to providing external

commercial validation of our technical capabilities, these contract engagements establish an

attractive strategic pipeline for future business opportunities and de-risk our overall business




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model.”      In truth, and as defendants knew, or recklessly ignored, Canoo abandoned its

engineering services business prior to the Merger.

       21.      The Shelf Registration Statement further stated with respect to the Company’s

relationship with Hyundai that, “[i]n February 2020, we entered into an agreement with Hyundai

Motor Group to co-develop a future EV platform based on our modular and scalable skateboard

technology, providing further validation of our technical leadership and external confidence in

our commercial prospects.” In fact, and as defendants knew, or recklessly ignored, Canoo

suspended its arrangement with Hyundai prior to the Merger.

       22.      On January 25, 2021, Canoo filed a Prospectus with the SEC, which formed part

of the Shelf Registration Statement. Later that same day, the SEC declared the Shelf Registration

Statement effective.

       23.      As early 2021 unfolded, Canoo continued to aggressively promote its business.

On    March       10,   2021,     the      Company    announced     plans     to   produce     an

all-electric pickup truck. The press release stated that Canoo “debuted today its fully-electric

pickup truck during the Motor Press Guild’s Virtual Media Day (VMD) in partnership with

Automobility LA.” “The pickup truck is the third vehicle that will be based on the company’s

proprietary multi-purpose platform architecture,” the press release stated, “enabling the

accelerated development timeline.” “The production version of the pickup truck will open for

preorders in Q2 2021, with deliveries beginning as early as 2023,” the press release concluded.

       24.      Defendants’     unlawful     scheme   continued   until     late   March     2021.

On March 29, 2021, Canoo announced its 2020 fourth quarter and full year financial results.

Evidencing the Company’s abandonment of its engineering and technology services line of

business and the curtailment of its arrangement with Hyundai by no later than the beginning of




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the 2020 fourth quarter, Canoo reported no engineering services revenue during the fourth quarter

of 2020, after having reported $2.55 million in engineering services revenue during the first nine

months of 2020. The Company also announced that defendant Paul Balciunas, who served as

Canoo’s CFO following the close of the Merger, resigned effective April 2, 2021.

       25.     On the same date, Canoo held an earnings conference call with analysts and

investors to discuss the Company’s operations and earnings release. During the call, defendant

Tony Aquila for the first time revealed that Canoo decided to “de-emphasize the originally stated

contract engineering services line” and that its highly touted arrangement with Hyundai had been

placed “on hold.”

       26.     On this news, the trading price of Canoo common stock crashed more than 21%

in a single day, down from $11.80 per share on March 29, 2021 to $9.30 per share on March 30,

2012, eventually falling to $8.47 per share on April 5, 2021, wiping out more than $1.6 billion

in once valuable stockholders’ equity.

       27.     Defendants are responsible for making and/or allowing false and misleading

statements to be made, thereby misleading Canoo stockholders and investors, violating state and

federal securities laws, and breaching their fiduciary duties. As a direct result, the Company has

suffered significant damage.

       28.     For example, the Company now faces class action lawsuits brought by Canoo

stockholders (the “Securities Class Actions”) alleging that the Company and defendants Daniel

J.    Hennessy,       Nicholas      A.      Petruska,     Bradley       Bell,     Peter     Shea,

Richard Burns, James F. O’Neil, Juan Carlos Mas, Gretchen W. McClain, Greg Ethridge, Ulrich

Kranz, Tony Aquila, Paul Balciunas, Hennessy Capital Partners IV LLC, and Hennessey Capital

LLC violated §§10(b) and 20(a) of the Securities Exchange Act of 1934 (“Exchange Act”). The




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Securities Class Actions seek to recover damages on behalf of stockholders who purchased or

acquired the common stock of Canoo (or its predecessor company, HCAC IV), between August

18, 2020 and March 29, 2021.

        29.     Due to the Canoo Board’s involvement in the wrongdoing, the substantial

likelihood of liability its members face, and its members’ lack of independence, any demand

upon the Board to rectify this wrongdoing would be a wasteful and useless act. Accordingly,

plaintiff now brings this action to remedy the harm to Canoo caused by defendants’ faithless

actions.

                                JURISDICTION AND VENUE

        30.     This Court has jurisdiction under 28 U.S.C. §1331 because certain of the claims

asserted herein arise under §§10(b), 14(a), 20(a) and 21D of the Exchange Act. This Court also

has supplemental jurisdiction over the state law claims under 28 U.S.C. §1367.

        31.     In connection with the acts, conduct and other wrongs complained of herein,

defendants, directly or indirectly, used the means and instrumentalities of interstate commerce,

the United States mail, and the facilities of a national securities market.

        32.     The Court has personal jurisdiction over each defendant because each defendant

is either a corporation that does sufficient business in this District or is an individual who has

sufficient minimum contacts with this District so as to render the exercise of jurisdiction by the

district courts permissible under traditional notions of fair play and substantial justice.

        33.     Venue is proper in this Court in accordance with 28 U.S.C. §1391(b) because

Canoo is a Delaware corporation and a substantial portion of the transactions and wrongs

complained of herein, including defendants’ participation in the wrongful acts detailed herein,

occurred in this District.




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                                       THE PARTIES

       34.     Plaintiff Claude L. Patterson is, and continuously has been, a stockholder of

Canoo (and its predecessor company) since December 2020.

       35.     Nominal defendant Canoo, a Delaware corporation, is a mobile technology

company that develops breakthrough electric vehicles that are reinventing the automobile

landscape. The Company’s Class A common stock and public warrants trade on the NASDAQ

stock exchange under the symbols “GOEV” and “GOEVW,” respectively. Canoo’s predecessor

company, HCAC IV’s units, Class A common stock and public warrants traded on the NASDAQ

under the symbols “HCACU,” “HCAC,” and “HCACW,” respectively.

       36.     Defendant Daniel J. Hennessy (“Hennessy”) served as Chairman of the Board of

Directors and Chief Executive Officer (“CEO”) of HCAC IV until the Merger. Defendant

Hennessy was, at all relevant times, a member of Hennessy Capital Partners IV LLC (“HCP IV

Sponsor”), the Company’s Sponsor, and the manager of Hennessy Capital Group LLC (“HC

LLC”), the managing member of HCP IV Sponsor. Defendant Hennessy is named as a defendant

in the Securities Class Actions alleginghe violated §§10(b) and 20(a) of the Exchange Act.

Defendant Hennessy knowingly, recklessly, or with gross negligence made (or allowed to be

made) improper statements in Canoo’s SEC filings, press releases and other public statements.

Defendant Hennessy also negligently violated §14(a) of the Exchange Act by making improper

statements in connection with the proxy solicitation of stockholder votes in favor of the Merger

and in the Company’s public communications. Post-Merger, defendant Hennessy sold 1,355,853

shares of Canoo common stock for $19,470,049 in unlawful proceeds, through the Company’s

January 12, 2021 Shelf Registration Statement.

       37.     Defendant Nicholas A. Petruska (“Petruska”) served as Executive Vice President

and CFO of HCAC IV until the Merger. Defendant Petruska was, at all relevant times, a member


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of HCP IV Sponsor and has served as Vice President of HC LLC since November 2013.

Defendant Petruska is named as a defendant in the Securities Class Actions alleging he violated

§§10(b) and 20(a) of the Exchange Act. Defendant Petruska knowingly, recklessly, or with gross

negligence made (or allowed to be made) improper statements in Canoo’s SEC filings, press

releases and other public statements. Defendant Petruska also negligently violated §14(a) of the

Exchange Act by making improper statements in connection with the proxy solicitation of

stockholder votes in favor of the Merger and in the Company’s public communications. Post-

Merger, defendant Petruska sold 363,188 shares of Canoo common stock for $5,215,379 in

unlawful proceeds, through the Company’s January 12, 2021 Shelf Registration Statement.

       38.    Defendant Bradley Bell (“Bell”) served as a member of HCAC IV’s Board of

Directors at the time of the Merger. Defendant Bell was, at all relevant times, a member of HCP

IV Sponsor. Defendant Bell is named as a defendant in the Securities Class Actions alleging he

violated §§10(b) and 20(a) of the Exchange Act. Defendant Bell knowingly, recklessly, or with

gross negligence made (or allowed to be made) improper statements in Canoo’s SEC filings,

press releases and other public statements. Defendant Bell also negligently violated §14(a) of

the Exchange Act by making improper statements in connection with the proxy solicitation of

stockholder votes in favor of the Merger and in Canoo’s public communications. Post-Merger,

defendant Bell sold 273,600 shares of Canoo common stock for $3,928,896 in unlawful proceeds,

through the Company’s January 12, 2021 Shelf Registration Statement.

       39.    Defendant Peter Shea (“Shea”) served as a member of HCAC IV’s Board of

Directors at the time of the Merger. Defendant Shea was, at all relevant times, a member of HCP

IV Sponsor. Defendant Shea is named as a defendant in the Securities Class Actions alleging he

violated §§10(b) and 20(a) of the Exchange Act. Defendant Shea knowingly, recklessly, or with




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gross negligence made (or allowed to be made) improper statements in Canoo’s SEC filings,

press releases and other public statements. Defendant Shea also negligently violated §14(a) of

the Exchange Act by making improper statements in connection with the proxy solicitation of

stockholder votes in favor of the Merger and in the Company’s public communications. Post-

Merger, defendant Shea sold 273,600 shares of Canoo common stock for $3,928,896 in unlawful

proceeds, through the Company’s January 12, 2021 Shelf Registration Statement.

       40.    Defendant Richard Burns (“Burns”) served as a member of HCAC IV’s Board of

Directors at the time of the Merger. Defendant Burns was, at all relevant times, a member of

HCP IV Sponsor. Defendant Burns is named as a defendant in the Securities Class Actions

alleging he violated §§10(b) and 20(a) of the Exchange Act. Defendant Burns knowingly,

recklessly, or with gross negligence made (or allowed to be made) improper statements in

Canoo’s SEC filings, press releases and other public statements.        Defendant Burns also

negligently violated §14(a) of the Exchange Act by making improper statements in connection

with the proxy solicitation of stockholder votes in favor of the Merger and in Canoo’s public

communications. Post-Merger, defendant Burns sold 273,600 shares of the Company’s common

stock for $3,928,896 in unlawful proceeds, through Canoo’s January 12, 2021 Shelf Registration

Statement.

       41.    Defendant James F. O’Neil III (“O’Neil”) served as a member of

HCAC IV’s Board of Directors at the time of the Merger. Defendant O’Neil was, at all relevant

times, a member of HCP IV Sponsor. Defendant O’Neil is named as a defendant in the Securities

Class Actions alleging he violated §§10(b) and 20(a) of the Exchange Act. Defendant O’Neil

knowingly, recklessly, or with gross negligence made (or allowed to be made) improper

statements in Canoo’s SEC filings, press releases and other public statements. Defendant O’Neil




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also negligently violated §14(a) of the Exchange Act by making improper statements in

connection with the proxy solicitation of stockholder votes in favor of the Merger and in Canoo’s

public communications. Post-Merger, defendant O’Neil sold 283,600 shares of Canoo common

stock for $4,072,496 in unlawful proceeds, through the Company’s January 12, 2021 Shelf

Registration Statement.

       42.     Defendant Juan Carlos Mas (“Mas”) served as a member of HCAC IV’s Board of

Directors at the time of the Merger. Defendant Mas was, at all relevant times, a member of HCP

IV Sponsor. Defendant Mas is named as a defendant in the Securities Class Actions alleging he

violated §§10(b) and 20(a) of the Exchange Act. Defendant Mas knowingly, recklessly, or with

gross negligence made (or allowed to be made) improper statements in Canoo’s SEC filings,

press releases and other public statements. Defendant Mas also negligently violated §14(a) of

the Exchange Act by making improper statements in connection with the proxy solicitation of

stockholder votes in favor of the Merger and in Canoo’s public communications. Post-Merger,

defendant Mas sold 248,600 shares of Canoo common stock for $3,569,896 in unlawful proceeds,

through the Company’s January 12, 2021 Shelf Registration Statement.

       43.     Defendant Gretchen W. McClain (“McClain”) served as a member of HCAC IV’s

Board of Directors at the time of the Merger. Defendant McClain was, at all relevant times, a

member of HCP IV Sponsor. Defendant McClain is named as a defendant in the Securities Class

Actions alleging she violated §§10(b) and 20(a) of the Exchange Act. Defendant McClain

knowingly, recklessly, or with gross negligence made (or allowed to be made) improper

statements in Canoo’s SEC filings, press releases and other public statements. Defendant

McClain also negligently violated §14(a) of the Exchange Act by making improper statements

in connection with the proxy solicitation of stockholder votes in favor of the Merger and in




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Canoo’s public communications. Post-Merger, defendant McClain sold 179,160 shares of Canoo

common stock for $2,572,737 in unlawful proceeds, through the Company’s January 12, 2021

Shelf Registration Statement.

       44.     Defendant Greg Ethridge (“Ethridge”) served as a member of HCAC IV’s Board

of Directors at the time of the Merger and, at all relevant times, was a member of HCP IV

Sponsor. Defendant Ethridge has served as a member of Canoo’s Board since the Merger.

Defendant Ethridge is named as a defendant in the Securities Class Actions alleging he violated

§§10(b) and 20(a) of the Exchange Act. Defendant Ethridge signed the Company’s false and

misleading January 13, 2021 Shelf Registration Statement. Defendant Ethridge knowingly,

recklessly, or with gross negligence made (or allowed to be made) improper statements in

Canoo’s SEC filings, press releases and other public statements. Defendant Ethridge also

negligently violated §14(a) of the Exchange Act by making improper statements in connection

with the proxy solicitation of stockholder votes in favor of the Merger and in Canoo’s public

communications. In 2020, the Company paid defendant Ethridge $502,310 upon completion of

the Merger.

       45.     Defendant Ulrich Kranz (“Kranz”) served as Co-Founder and CEO of Canoo

Holdings until the Merger when he became the Company’s CEO, in Charge. Defendant Kranz

is named as a defendant in the Securities Class Actions alleging he violated §§10(b) and 20(a) of

the Exchange Act. Defendant Kranz knowingly, recklessly, or with gross negligence made (or

allowed to be made) improper statements in Canoo’s SEC filings, press releases and other public

statements. Defendant Kranz also negligently violated §14(a) of the Exchange Act by making

improper statements in connection with the proxy solicitation of stockholder votes in favor of the

Merger and in Canoo’s public communications. In 2020, Canoo paid defendant Kranz $708,045.




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Post-Merger, defendant Kranz sold 1,365,813 shares of the Company’s common stock for

$19,613,074 in unlawful proceeds, through Canoo’s January 12, 2021 Shelf Registration

Statement. As of April 23, 2021, defendant Kranz beneficially owned 1,257,987 shares of the

Company’s common stock which was worth $10,957,066.

       46.     Defendant Tony Aquila (“Aquila”) served as Executive Chairman of Canoo

effective with the Merger. Defendant Aquila has served as a member of the Company’s Board

since the Merger. Defendant Aquila is named as a defendant in the Securities Class Actions

alleging he violated §§10(b) and 20(a) of the Exchange Act. Defendant Aquila signed the

Company’s false and misleading January 13, 2021 Shelf Registration Statement. Defendant

Aquila knowingly, recklessly, or with gross negligence made (or allowed to be made) improper

statements in Canoo’s SEC filings, press releases and other public statements. Defendant Aquila

also negligently violated §14(a) of the Exchange Act by making improper statements in

connection with the proxy solicitation of stockholder votes in favor of the Merger and in Canoo’s

public communications. In 2020, the Company paid defendant Aquila $35,617,564. Post-

Merger, defendant Aquila sold 15,333,504 shares of Canoo common stock for $220,189,117 in

unlawful proceeds, through the Company’s January 12, 2021 Shelf Registration Statement.

       47.     Defendant Paul Balciunas (“Balciunas”) served as Chief of Finance and Corporate

Development of Canoo Holdings until the Merger when he became Canoo’s CFO until his

resignation from the Company effective April 2, 2021. Defendant Balciunas is named as a

defendant in the Securities Class Actions alleging he violated §§10(b) and 20(a) of the Exchange

Act. Defendant Balciunas knowingly, recklessly, or with gross negligence made (or allowed to

be made) improper statements in Canoo’s SEC filings, press releases and other public statements.

Defendant Balciunas also negligently violated §14(a) of the Exchange Act by making improper




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statements in connection with the proxy solicitation of stockholder votes in favor of the Merger

and in the Company’s public communications. In 2020, Canoo paid defendant Balciunas

$2,552,853. Post-Merger, defendant Balciunas sold 272,164 shares of the Company’s common

stock for $3,908,275 in unlawful proceeds, through Canoo’s January 12, 2021 Shelf Registration

Statement.

       48.     Defendant HCP IV Sponsor is a Delaware limited liability company and an

affiliate of defendant Hennessy. At all relevant times, HCP IV Sponsor was the Sponsor of

HCAC IV. Defendant HCP IV Sponsor knowingly, recklessly, or with gross negligence made

(or allowed to be made) improper statements in Canoo’s SEC filings, press releases and other

public statements. Defendant HCP IV Sponsor also negligently violated §14(a) of the Exchange

Act by making improper statements in connection with the proxy solicitation of stockholder votes

in favor of the Merger and in the Company’s public communications.

       49.     Defendant HC LLC is an affiliate and the managing member of HCP IV Sponsor.

Defendant Hennessy is the Founder, Managing Member, Chairman and CEO of defendant HC

LLC. Defendant HC LLC knowingly, recklessly, or with gross negligence made (or allowed to

be made) improper statements in Canoo’s SEC filings, press releases and other public statements.

Defendant HC LLC also negligently violated §14(a) of the Exchange Act by making improper

statements in connection with the proxy solicitation of stockholder votes in favor of the Merger

and in the Company’s public communications.

       50.     Defendant Thomas Dattilo (“Dattilo”) has served as a member of Canoo’s Board

since the Merger. Defendant Dattilo signed the Company’s false and misleading January 13,

2021 Shelf Registration Statement. Defendant Dattilo knowingly, recklessly, or with gross

negligence made (or allowed to be made) improper statements in the Company’s SEC filings,




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press releases and other public statements. In March 2021, defendant Dattilo received 18,556

restricted stock units (“RSUs”) with an aggregate value of $275,000.

       51.    Defendant Foster Chiang (“Chiang”) has served as a member of Canoo’s Board

since the Merger. Defendant Chiang signed the Company’s false and misleading January 13,

2021 Shelf Registration Statement. Defendant Chiang knowingly, recklessly, or with gross

negligence made (or allowed to be made) improper statements in the Company’s SEC filings,

press releases and other public statements. In March 2021, defendant Chiang received 18,556

RSUs with an aggregate value of $275,000.

       52.    Defendant Rainer Schmueckle (“Schmueckle”) has served as a member of

Canoo’s Board since the Merger. Defendant Schmueckle signed the Company’s false and

misleading January 13, 2021 Shelf Registration Statement. Defendant Schmueckle knowingly,

recklessly, or with gross negligence made (or allowed to be made) improper statements in the

Company’s SEC filings, press releases and other public statements. In March 2021, defendant

Schmueckle received 18,556 RSUs with an aggregate value of $275,000.

       53.    Defendant Josette Sheeran (“Sheeran”) has served as a member of Canoo’s Board

since the Merger. Defendant Sheeran signed the Company’s false and misleading January 13,

2021 Shelf Registration Statement. Defendant Sheeran knowingly, recklessly, or with gross

negligence made (or allowed to be made) improper statements in Canoo’s SEC filings, press

releases and other public statements. In March 2021, defendant Sheeran received 18,556 RSUs

with an aggregate value of $275,000.

       54.    Defendant Debra von Storch (“von Storch”) has served as a member of Canoo’s

Board since January 12, 2021. Defendant von Storch signed the Company’s false and misleading

January 13, 2021 Shelf Registration Statement. Defendant von Storch knowingly, recklessly, or




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with gross negligence made (or allowed to be made) improper statements in Canoo’s SEC filings,

press           releases,           and               other         public           statements.

In March 2021, defendant von Storch received 18,556 RSUs with an aggregate value of

$275,000.

        55.    Defendants Hennessy, Petruska, Bell, Shea, Burns, O’Neil, Mas, McClain,

Ethridge, Dattilo, Chiang, Schmueckle, Sheeran and von Storch are collectively referred to herein

as the “HCAC IV Individual Defendants.”         Defendants Kranz, Aquila and Balciunas are

collectively referred to herein as the “Canoo Individual Defendants.” Defendants HCP IV

Sponsor and HC LLC are collectively referred to herein as the “Blank Check Sponsor

Defendants.” The HCAC IV Individual Defendants and the Canoo Individual Defendants are

collectively referred to herein as the “Individual Defendants.” Unless otherwise noted, the

Company and the Individual Defendants are collectively referred to as “Defendants.”

                                FACTUAL ALLEGATIONS

        56.    Based in greater Los Angeles, California, Canoo is a mobile technology company

that develops electric vehicles. “Distinguished by its experienced team – totaling over 350

employees from leading tech and automotive companies – the Company has designed a modular

skateboard platform purpose-built to deliver maximum vehicle interior space and adaptable to

support a wide range of vehicle applications for consumers.”

                   HCAC IV GOES PUBLIC AND ACQUIRES CANOO

        57.    HCAC IV is a blank check company or SPAC formed under the laws of the state

of Delaware on or about August 6, 2018 for the purpose of effecting a merger, capital stock

exchange, asset acquisition, stock purchase, or similar business combinations with one or more

businesses. HCAC IV was led by defendant Hennessy, its CEO and Chairman. HCAC IV’s

sponsor, Hennessy Capital Partners IV LLC (HCP IV Sponsor), is a Delaware limited liability


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company controlled by defendant Hennessy through Hennessy Capital Group LLC (HC LLC),

an affiliate and managing member of Hennessy Capital IV LLC (HCP IV Sponsor).

       58.     On February 11, 2019, HCAC IV filed for its $300 million IPO.

       59.     HCAC IV’s Registration Statement filed that day stated, in relevant part, as

follows:

       We have not selected any specific business combination target and we have not,
       nor has anyone on our behalf, initiated any substantive discussions, directly or
       indirectly, with any business combination target. While we may pursue an
       acquisition opportunity in any business, industry, sector or geographical location,
       we intend to identify and acquire a business focusing on industrial, infrastructure
       solutions and value-added distribution sectors in the United States (which may
       include a business based in the United States which has operations or
       opportunities outside of the United States). We will seek to acquire one or more
       businesses with an aggregate enterprise value of $750 million or greater.

       60.     HCAC IV further stated that it was targeting “one or more businesses with an

aggregate enterprise value of $750 million or greater.”

       61.     HCAC IV’s Registration Statement further stated with respect to its expertise as

a SPAC sponsor that “a partnership through one of its SPAC vehicles is a ‘Catalyst for Growth,’”

and that HCAC IV “intends to focus on opportunities that will deliver outsized growth to its

investors.”

       62.     HCAC IV further stated with respect to identifying a suitable acquisition target,

that it recruited and organized a group of eight highly accomplished and engaged directors to aid

HCAC IV in investment origination, key risk assessment, opportunities and due diligence.

HCAC IV emphasized that defendant Hennessy is “one of the longest tenured and most

experienced SPAC sponsor executives,” with over 25 years of experience in the private equity

investment business. HCAC IV further still represented that its group of eight directors had

extensive experience with acquisitions, divestitures and corporate strategy, and possess relevant

domain expertise in the sectors then being targeted by HCAC IV for a business combination.


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       63.     HCAC IV further stated that it expected to conduct a thorough due diligence

review process encompassing, among other things, “a review of the target’s quality of earnings,

IPO readiness, commercial and competitive analysis, operations and performance improvement,

strategic growth opportunities as well as customary legal and accounting due diligence.”

       64.     HCAC IV further stated with respect to determining the fair market value of its

initial business combination that HCAC IV’s “board of directors will make the determination as

to the fair market value of our initial business combination.”

       65.     HCAC IV further stated with respect to the criteria and guidelines it would use to

evaluate prospective target businesses as follows:

       We will use these criteria and guidelines in evaluating acquisition opportunities,
       but we may decide to enter into our initial business combination with a target
       business that does not meet these criteria and guidelines.

                                        *       *       *

       •       Established Companies with Proven Track Records. We will seek to
               acquire one or more established companies with consistent historical
               financial performance. We will typically focus on companies with a
               history of strong operating and financial results and strong fundamentals.
               We do not intend to acquire start-up companies or companies with
               recurring negative free cash flow.

       •       Companies with Proven Revenue and Earnings Growth or Potential
               for Revenue and Earnings Growth. We will seek to acquire one or more
               businesses that have achieved or have the potential for significant revenue
               and earnings growth through a combination of organic growth, synergistic
               add-on acquisitions, new products, markets and geographies, increased
               production capacity, expense reduction and increased operating leverage.

       •       Companies with, or with the Potential for, Strong Free Cash Flow
               Generation. We will seek to acquire one or more businesses that already
               have, or have the potential to generate, consistent, stable and increasing
               free cash flow. We will focus on one or more businesses that have
               predictable revenue streams.

       •       Strong Competitive Position. We intend to focus on acquisition targets
               that have a leading, growing or niche market position in their respective
               industries. We will analyze the strengths and weaknesses of target


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               businesses relative to their competitors. We will seek to acquire one or
               more businesses that demonstrate advantages when compared to their
               competitors, which may help to protect their market position and
               profitability.

       •       Experienced Management Team. We will seek to acquire one or more
               businesses with a complete, experienced management team that provides
               a platform for us to further develop the acquired business’s management
               capabilities. We will seek to partner with a potential target’s management
               team and expect that the operating and financial abilities of our executive
               team and board will complement their own capabilities.

       •       Sectors Exhibiting Secular Growth or with Potential for Cyclical
               Uptick. We intend to focus on acquisition targets in sectors which exhibit
               positive secular growth or potential for near-term cyclical uptick. We plan
               to identify sectors that have demonstrated strong positive growth in recent
               years, possess drivers for continued growth and are strategically
               positioned to benefit from upswings in their respective industry cycles.

       66.     HCAC IV further stated that “[i]f we are unable to complete our initial business

combination within 18 months from the closing of this offering, we will redeem 100% of the

public shares for cash.”

       67.     On February 28, 2019, the SEC declared effective HCAC IV’s Registration

Statement for its IPO.

       68.     On March 5, 2019, HCAC IV announced that it had closed its IPO of 30,015,000

units at an offering price of $10.00 per unit, resulting in gross proceeds of $300,150,000.

Simultaneously with the closing of the IPO, HCAC IV sold 13,581,500 warrants at a price of

$1.00 per private placement warrant in a private placement, generating an additional $13,581,500

in proceeds.

       69.     HCAC IV’s units, Class A common stock and public warrants were listed on the

NASDAQ and commenced trading under the ticker symbols “HCACU,” “HCAC,” and

“HCACW,” respectively. Each HCAC IV unit consisted of one share of HCAC IV’s Class A




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common stock and three-quarters of one redeemable warrant, entitling the warrant holder to

purchase one share of Class A common share at $11.50 per share.

Canoo Holdings

       70.    Co-founded in January 2018 as a private company by defendant Kranz, Canoo

Holdings is an electric automotive startup. It has developed a breakthrough EV platform, or

skateboard, purpose-built to be highly modular and to facilitate rapid development of multiple

vehicle programs in both the commercial and consumer markets. Canoo Holdings plans to build

up to four electric vehicles which are expected to ultimately cost between around $35,000-

$50,000.

       71.    Canoo Holdings debuted its first subscription-only electric model, called “canoo,”

on September 24, 2019, to much fanfare. The company’s press release glowingly stated:

       Canoo, the Los Angeles based company creating electric vehicles (EV) for
       subscription only, has unveiled today its first model, simply called canoo. The
       design challenges traditional automotive shape and functionality and capitalizes
       on EV architecture in a way that provides significantly more interior space. Canoo
       created this spacious vehicle for a world in which transportation is becoming
       increasingly electric, shared and autonomous.

              In less than 19 months since Canoo started, the company has achieved a
       major milestone by designing and engineering its first model, which is ready to
       present to the public.

               “We believe that the potential of EV architecture can enable a post-SUV
       era that addresses the ever-growing desire for space and value,” said Ulrich Kranz,
       In Charge at Canoo. “We promised a truly different approach for EVs, and our
       canoo proves that we can deliver on that vision. The unveiling also kicks off the
       period of beta testing, meaning we are on track for our launch date in 2021. We
       are very proud of the team. In my 30 years’ experience, I have never seen so
       many quality achievements in such a short time.”

       72.    On the same day, The Verge reported that “Canoo’s first vehicle . . . , is a sort of

boxy, modern take on the Volkswagen Microbus . . . with lots more windows that follow right to

the back of the vehicle, including a few that pop out, just like on those old Microbuses.” The



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Verge further reported that “Canoo reportedly has a commitment of around $1 billion from a

group of unnamed investors.” The Verge further reported that Canoo “plans to start road testing

the vehicle later this year, ahead of the planned 2021 launch.”

       73.     On September 24, 2019, in an article entitled “Canoo takes the covers off of its

debut electric vehicle,” TechCrunch reported that “[t]he Los Angeles-based startup Canoo has

finally unveiled its first model, the eponymously named canoo,” which it plans to launch in 2021

in Los Angeles, California and in eight additional other cities on the East and West Coasts. The

article continued:

              Remarkably, Canoo has completed the design and engineering of its first
       model in just 19 months and is preparing its vehicles for production through a
       contract manufacturer. The first cars are slated to appear on the road by 2021,
       according to the company’s current leader, Ulrich Kranz.

                                        *       *       *

               Canoo will launch its first vehicles in the Los Angeles market and expects
       to not only provide its “skateboard” platform for its own vehicles, but potentially
       work with other customers that would put their own cabin on top of the Canoo
       platform, Kranz says.

               The company intends to go to market with an entirely new business model
       by providing customers with its cars for a monthly subscription fee. That service
       will likely include perks like automatic vehicle registration, maintenance,
       insurance management and charging through a single app on a customer’s phone.
       The idea, the company says, is to bring the convenience and affordability of a
       Netflix movie service to the auto industry.

                                        *       *       *

              The rental model will help, as will the company’s conservative rollout
       plan. Kranz says that Canoo will start offering its subscription vehicles in one
       geography and scale slowly from there.

              “We will roll out city-by-city,” he says. “Eight to 10 cities represent more
       than 70% of all the electric vehicle population [so] there is no need to provide our
       EV nationwide.”




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              The plan for 2021 is to launch in Los Angeles and have another eight cities
       account for the company’s U.S. market. That means four on the West Coast and
       four on the East Coast, according to Kranz.

               “After the launch in the U.S. we are considering launching the vehicle in
       China . . . . There are 18 cities that represent 75% of the EV population in China,”
       he said.

HCAC IV Acquires Canoo Holdings

       74.    On August 18, 2020, HCAC IV announced that it had entered into a definitive

agreement for a business combination with Canoo Holdings, which would result in Canoo

Holdings becoming a publicly traded company. The transaction was described as follows:

       Transaction Overview

              The business combination values Canoo at an implied $2.4 billion pro
       forma equity value, at the $10.00 per share price and assuming no redemptions of
       HCAC’s existing public stockholders. The combined company will receive
       approximately $600 million of proceeds from an upsized fully committed
       common stock PIPE offering of over $300 million, along with the approximately
       $300 million cash held in trust assuming no redemptions of HCAC’s existing
       public stockholders. The boards of directors of both Canoo and HCAC have
       unanimously approved the proposed business combination, which is expected to
       be completed in the fourth quarter of 2020, subject to, among other things, the
       approval by HCAC stockholders and the satisfaction or waiver of other customary
       closing conditions.

       75.    On the same day, an article in Business Insider entitled “Electric-vehicle maker

Canoo will merge with ‘blank-check’ company to raise $600 million in a public offering

(HCAC)” reported:

              The hot SPAC trend of 2020 continued on Tuesday after Canoo, an electric
       vehicle maker based in Los Angeles, announced it would go public via a reverse
       merger with Hennessy Capital Acquisition Corp. in a deal valued at $2.4 billion.

                                        *       *       *

              Canoo plans to launch its first model, dubbed “Canoo,” in 2022, followed
       by a business-to-business commercial delivery vehicle in 2023.

       76.    On August 18, 2020, Tech Crunch also reported in an article entitled “Electric

vehicle startup Canoo to go public via SPAC” that:

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               Canoo said it was able to raise $300 million in private investment in public
       equity, or PIPE, including investments from funds and accounts managed by
       BlackRock. Through the transaction, Canoo said it will have about $600 million
       that will go toward the production and launch of electric vehicles built off of its
       underlying skateboard technology.

       77.    As 2020 continued to unfold, the buzz around the Merger increased.

For example, on December 6, 2020, an article entitled “Canoo Bulls Should Buckle up as the

Company’s Merger With the SPAC Hennessy Capital Acquisition Corp. IV (NASDAQ: HCAC)

Will Likely Be Formalized on the 21st of December,” reported that:

       Canoo plans to engage an OEM to produce its vehicles, thereby reducing its
       CAPEX requirements. As far as financial projections are concerned, the company
       expects to earn a revenue of $120 million in 2021. This top-line metric, however,
       is expected to swell to $1.43 billion by 2024 and to a whopping $4.12 billion by
       2026.

       78.    On December 7, 2020, HCAC IV announced that it would hold a Special Meeting

of its stockholders to vote on the proposed Merger.

       79.    On December 21, 2020, HCAC IV and Canoo Holdings announced that at the

Special Meeting, HCAC IV’s stockholders voted to approve the stockholder proposals necessary

to complete the Merger, which closed on December 21, 2020. They also announced that HCAC

IV would change its name to “Canoo Inc.”

       80.    On the same day, commenting on the Merger, defendant Aquila stated:

       “This next chapter is a very important one for Canoo as we prepare to complete
       advanced testing of our innovative electric mobility platform and to bring our
       recently unveiled multi-purpose delivery vehicle to limited production in 2022,
       and to commercial production and rollout in 2023. On behalf of all of us at Canoo,
       we are committed and excited about our go-to-market opportunities and to bring
       both consumers and businesses the benefits of our platform. We are extremely
       passionate about fulfilling our mission to bring EVs to everyone.”

       81.    Defendant Hennessy similarly stated:

       “We are excited to see this merger successfully realized and congratulate Canoo
       on this milestone. Our commitment to sustainable technologies and infrastructure
       is resolute, and Canoo is a fitting long-term partner as we usher in a new era for


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       urban mobility with innovative and affordable EVs. We look forward to
       collaborating with Canoo as they bring game-changing EV solutions to B2C and
       B2B markets and execute against their vision.”

       82.     Additionally, according to HCAC IV’s November 27, 2020 Amended Form S-4,

HCAC IV’s Board of Directors did not obtain a third-party valuation or fairness opinion in

connection with its recommendation that stockholders approve the Merger.

The Undisclosed Truth About Canoo Holdings’ Business

       83.     In truth, Canoo Holdings’ business and operations were not nearly as successful

as the Individual Defendants claimed. Accordingly, between August 2020 and March 2021,

numerous     statements    by    and    on   behalf    of    Canoo    (and    its   predecessor,

HCAC IV) were materially false and misleading when made because of defendants’ failure to

disclose the following true facts about the Company’s business, operations and prospects:

               (a)    Canoo Holdings had already, or was in the process of, abandoning its

engineering and technology services business;

               (b)    Canoo Holdings was no longer generating engineering and technology

services revenues;

               (c)    Canoo Holdings had already, or was in the process of, curtailing its

arrangement with Hyundai; and

               (d)    that as a result of the foregoing, the Individual Defendants’ statements

about Canoo Holdings’ financial projections, its relationship with Hyundai, business, operations,

and prospects were materially misleading and/or lacked reasonable basis.

The Individual Defendants Made Improper Public Statements

       84.     Beginning or before August 18, 2020, and continuing until at least

March 29, 2021, the Individual Defendants made, allowed the Company (or its predecessor) to




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make, and/or failed to correct improper statements in Canoo’s SEC filings, press releases, and

other public statements concerning the Company’s business, operations, and prospects.

       85.    On August 18, 2020, Canoo Holdings and HCAC IV jointly announced that they

had entered into a definitive merger agreement. HCAC IV filed a Form 8-K with the SEC

concerning the Merger announcement, attaching the Agreement and Plan of Merger, a form

subscription agreement, the August 18, 2020 joint press release announcing the Merger, and the

August 18, 2020 investor slide presentation. The Form 8-K specifically noted: “HCAC, the

Company and certain of their respective directors, executive officers and other members of

management and employees may, under SEC rules, be deemed to be participants in the

solicitation of proxies from HCAC’s stockholders in connection with the Transactions.”

       86.    The August 18, 2020 joint press release provided, in relevant part, that the

transaction valued Canoo “at an implied $2.4 billion pro forma equity value,” and that the

“combined company will receive approximately $600 million of proceeds from an upsized fully

committed common stock PIPE offering of over $300 million, along with the approximately $300

million cash held in trust assuming no redemptions of HCAC’s existing public stockholders.” It

also stated that the boards of directors of HCAC IV and Canoo Holdings had both “unanimously

approved the proposed business combination, which is expected to be completed in the fourth

quarter of 2020.”

       87.    The August 18, 2020 joint press release included the following quote by defendant

Hennessy:

       “We are thrilled to partner with Canoo on their mission to reinvent urban mobility
       with a greener, simpler and more affordable portfolio of EV solutions. Unlike
       any other EV company, Canoo has created a go-to-market strategy that captures
       both B2C and B2B demand with the same skateboard architecture and technology
       that has already been validated by key partnerships such as with Hyundai. HCAC
       has an abiding commitment to sustainable technologies and infrastructure, and we



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       are excited to serve as a catalyst to advance the launch of the Canoo vehicle
       offerings.”

       88.    The August 18, 2020 joint press release also included the following quote from

defendant Kranz:

       “Today marks an important milestone of Canoo’s effort to reinvent the
       development, production and go-to-market model of the electric vehicle industry.
       Our technology allows for rapid and cost-effective vehicle development through
       the world’s flattest skateboard architecture, and we believe our subscription model
       will transform the consumer ownership experience. We are excited to partner
       with Hennessy Capital and we are energized to begin our journey through a shared
       passion to deliver an environmentally friendly and versatile vehicle development
       platform to the market.”



       89.    The August 18, 2020 joint press release further provided that:

       Canoo expects to introduce its first model in 2022 that will be targeted at
       consumers in major urban markets. This lifestyle vehicle – eponymously named
       the canoo – leverages the company’s low profile skateboard architecture to deliver
       the highest volume utilization across all classes of competitor vehicles currently
       on the market and has been purposefully developed for a subscription business
       model.

       90.    HCAC IV and Canoo Holdings also held an analyst and investor conference call

on August 18, 2020 to further promote the proposed business combination. On the conference

call, defendant Hennessy highlighted Canoo Holdings’ “immense” total addressable market

(“TAM”)and “disruptive” projected revenue and earnings before interest, taxes, depreciation and

amortization (“EBITDA”) growth expectations, which he noted were validated by due diligence

conducted by HCAC IV and its affiliates. He stated:

       What is especially exciting to us, is the immense TAM and projected revenue and
       EBITDA growth for Canoo shown here, which is supported by our diligence,
       Myriat industry experts and reports on electrification, consumer acceptance and
       demand drivers. This disruptive growth profile is further validated by the fact that
       Canoo, unlike almost any other EV company, has created a go to market strategy
       that captures both B2C and B2B demand with the same skateboard architecture.




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        91.    Defendant Kranz also explained on the conference call that a “unique” aspect of

Canoo     Holdings     was    its   three   revenue    streams:    (i)   engineering    services;

(ii) business to consumer, or “B2C”; and (iii) business to business, or “B2B.” Defendant Kranz

noted that engineering services was the only line business currently generating revenue, with the

launch dates of Canoo Holdings’ B2C and B2C business lines expected in 2022 and 2023,

respectively. Specifically, he stated:

        Moving now to slide 17. This is also something I would consider unique for a
        start up. We have three phases of revenue streams. And the first phase, we call
        it engineering services. This is a phase that already [exists] today. So we are
        working for companies and we are already making money with the first revenue
        stream. The second revenue stream is a B2C. So this is our stream that we will
        have available when we launch our first vehicle, our Lifestyle vehicles, by 2022.
        This is a consumer vehicle and it will be on subscription. The B2B service that
        you see on the right side, is our third revenue stream. This will be a vehicle
        introduced in 2023 what we call a last-mile delivery vehicle and this will be for
        sales. So three different revenue streams give us a very good flexibility and it
        makes also sure that we can really tap into different areas to be profitable.

        92.    During the conference call, HCAC IV and Canoo Holdings presented slides which

were later made available to all investors in HCAC IV’s Form 8-K filing with the SEC. The

August 18, 2020 slides projected that the Company’s revenue and EBITDA would achieve a

CAGR of 70% and 127%, respectively:




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       93.     The August 18, 2020 slides also claimed that Canoo Holdings’ immediate contract

revenue “de-risks [its] go to market strategy”:




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       94.     The August 18, 2020 slides further boasted that Canoo Holdings’ engineering

services line of business would generate $120 million in engineering services revenue during

2021 and a five-year revenue CAGR for engineering services of 39%:




       95.     On this topic, during the August 18, 2020 conference call, defendant Balciunas

added that Canoo Holdings’ engineering services line of business is a “very important part of our

overall strategy,” a “great way for us to pool revenues early,” and “de-risk the company’s strategy

as a whole.” He further stated:

       You heard Ulli describe it earlier that we’ve had three phases of revenue and this
       is the first phase of revenue that we have. This is a very important part of our
       overall strategy, as it’s the great way for us to pool revenues early and de-risk the
       company’s strategy as a whole.

               On 37, are a few examples that I’d like to discuss. We’ve been targeting
       specifically technology companies, passenger OEMs, delivery OEMs and then
       autonomous driving companies as potential partners. Currently in our pipeline,
       we have $120 million of projected revenue in 2021, which consists of a couple of
       projects that are in the advanced stages of negotiation.

             Overall, we have 7 projects in our pipeline and they range from designing
       new top hats to doing engineering work on our existing skateboard platform, to


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       potentially doing skateboard licensing in the future, which is a significant revenue
       upside opportunity for us. But also this could potentially reduce our overall costs
       through economies of scale. We also will be interested in selling commercial
       vehicles, which is our last mile delivery vehicle to potential partners.

       96.    During the August 18, 2020 conference call, HCAC IV and Canoo Holdings also

addressed     the    latter’s    purportedly         positive   relationship    with      Hyundai.

In a February 2020 press release announcing the accord between Hyundai and Canoo Holdings,

Hyundai had referred to the arrangement as a “collaboration” to jointly develop an EV platform

for future Hyundai models. However, during the August 18, 2020 conference call, defendant

Balciunas suggested that the relationship was now something more, calling it a “multiple phase

partnership,” with Canoo Holdings rendering engineering service to Hyundai. He stated:

       Most importantly, is with Hyundai. This is something that we are incredibly
       proud of to have this partnership with the world-class OEM like Hyundai. This
       is a multiple phase partnership and we’ve currently are in the first phase in doing
       some contract engineering work that leverages our existing technology, but we’re
       tailoring it to Hyundai’s specifications.

                With this potential opportunity to move forward into future phases, we
       would then be drilling into specific componentry and also doing simulations and
       tests on software and then ultimately the final phase could potentially be
       delivering hard assets that could be tested and validated in the real world. So, this
       is a really great opportunity and benchmark for the marketplace to have this kind
       of validation, especially considering that we are a much smaller company versus
       Hyundai.

                                        *        *        *

               If I were to leave you with two primary points from this page. The first
       is, these projects are incredibly difficult to secure. We have been working with
       these partners for over 6 months up to a year to be able to have some of these
       relationships. So it’s not easy for other competitors to come in and do the same
       thing. The second point is, our competitors are purchasing their technology from
       OEMs. However, we have the OEMs coming to us to purchase the technology.
       Because they’ve recognize that we’ve done something very unique and we could
       help speed up their electrification strategy and bring new products to market
       faster.




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       97.     The August 18, 2020 slides included a Financials & Transaction Overview which

contained various financial projects described as sustainable and very conservative.




       98.     As to Canoo Holdings’ engineering services revenue, the August 18, 2020 slides

projected “$120 million of projected [engineering service] revenue in 2021”:




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       99.     Moreover, on the topic of financial projections, during the August 18, 2020

conference call, defendant Balciunas stated:

       If we turn to slide [5]1, we have an overview of our financial projections. And
       before we drill into these figures, I do want to highlight a couple of points. The
       first is, we wanted to build a financial model that was sustainable and profitable
       on itself based on the unit economics that you heard Alex described earlier. What
       we did not want to do is, build the model that only worked, if you had to layer on
       a lot of government subsidies and that’s because we don’t know how long those
       subsidies will be in place and available to EV companies.

                The second point is, we wanted to have a very conservative ramp-up.
       Producing a vehicle is very difficult and complicated and those first couple of
       years you want to make sure you have a realistic ramp-up in terms of being able
       to hit those numbers and produce a quality product. If we look at our volumes,
       the lifestyle consumer vehicle, we launch that in 2022 with 10,000 units and then
       ramp up to 25,000 units and then double to 50,000 units, where we cap out. Of
       course, if there’s greater demand for this product, we can install additional
       capacity at our manufacturing facility.

       100.    On September 18, 2020, the Company filed its Registration Statement on SEC

Form S-4, in which HCAC IV’s board of directors requested that stockholders vote in favor of

the Merger. The filing, subsequently amended, including on December 4, 2020, highlighted that

Canoo Holdings’ engineering services business “offers a unique opportunity to generate

immediate revenues in advance of the offering of our first vehicles and our current pipeline in

this area is supportive of a projected $120 million of revenue in 2021” and that “[w]e expect our

engineering and technology services business to offer significant growth potential in the future.”

Specifically, the Proxy/Registration Statement stated:

       ENGINEERING AND TECHNOLOGY SERVICES

               Canoo’s engineering and technology services business covers all the
       material consulting and contract engineering work that is in high demand due to
       our team’s specialized experience and technical capabilities in EV development.
       This business offers a unique opportunity to generate immediate revenues in
       advance of the offering of our first vehicles and our current pipeline in this area
       is supportive of a projected $120 million of revenue in 2021. We expect our
       engineering and technology services business to offer significant growth potential
       in the future as projected demand grows for EVs and their related technologies,


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       namely in platform/skateboard development, powertrain, battery technologies and
       power electronics, among other areas, in which we have substantial expertise. In
       addition to providing external commercial validation of Canoo’s technical
       capabilities, these contract engagements establish an attractive strategic pipeline
       for future business opportunities and de-risk our overall business model.

       101.    The S-4 Registration Statement also stated that the engineering services business

would provide the Company with additional sources of revenue and long-term commercial

opportunities and that the Company expected to announce many more partnerships associated

with that line of business:

       Contract engineering opportunities serve as concrete points of external validation
       for our technology and the talent of our team, as well as provide additional sources
       of revenue and long-term commercial opportunities (such as skateboard and
       technology licensing) as the relationship matures. Canoo is also in discussions
       with a number of other partners and expects to be in a position to announce many
       more partnerships in due course.

       102.    Further, the S-4 Registration Statement noted the significant market potential for

engineering services revenue, stating, in pertinent part:

       Contract Engineering services offer a separate revenue stream and validate
       the quality of our technology

       There exists significant market potential for contract engineering services among
       legacy OEMs who lack the expertise to develop an electric powertrain at the pace
       needed to capitalize on the rising regulatory requirements and global demand for
       EVs. Canoo is at a distinct competitive advantage to capitalize on this growing
       demand by leveraging the extensive knowledge and experience of its world class
       team. In fact, whereas other new EV entrants are forced to license key
       technologies or outsource primary engineering development to larger OEMs,
       Canoo has already received significant OEM interest in our skateboard
       technology and our team’s expertise in platform engineering, powertrains and
       vehicle design.

       103.    Concerning Canoo Holdings’ relationship with Hyundai, the S-4 Registration

Statement represented:

       In February 2020, Hyundai Motor Group entered into an agreement with Canoo
       to co-develop a future EV platform based on Canoo’s modular and scalable
       skateboard technology, providing further validation of Canoo’s technical
       leadership and external confidence in its commercial prospects.


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                                        *      *       *

       In addition to providing external commercial validation of Canoo’s technical
       capabilities, these contract engagements establish an attractive strategic pipeline
       for future business opportunities and de-risk the overall business model.

                                        *      *       *

       In February 2020, Hyundai Motor Group entered into an agreement with Canoo
       to co-develop a future EV platform based on Canoo’s modular and scalable
       skateboard technology, providing further validation of Canoo’s technical
       leadership. The agreement provides for the co-development of a platform for a
       small segment electric vehicle for which the intellectual property developed will
       be jointly owned by Canoo and Hyundai Motor Group. The agreement provides
       that it may be terminated for convenience by either party; however, certain
       provisions, including with respect to the joint-ownership of intellectual property,
       survive any such termination.

       104.    On September 24, 2020, HCAC IV and Canoo Holdings hosted an analyst day

with select Wall Street firms to provide an overview of Canoo Holdings’ business and discuss

historical and projected financial performance and various other matters, including recent

developments with Canoo Holdings and the EV industry generally. During the presentation, the

companies exhibited slides which were later made available to all investors in an HCAC IV SEC

filing. The September 24, 2020 slides were substantially similar to the August 18, 2020 slides

and repeated the claims about Canoo Holdings’ engineering and technology services business’

2021 projected revenues and favorable relationship with Hyundai.

       105.    The August 18, 2020 and September 24, 2020 statements set forth above

concerning Canoo Holdings’ business and operations, and those concerning the revenues

generated by the Company’s engineering services business and its relationship with Hyundai,

were false and materially misleading for the reasons set forth in ¶¶83, 111-119.

       106.    On January 13, 2021, the Company filed with the SEC a Shelf Registration

Statement signed by, among others, defendants Aquila, Dattilo, Chiang, Ethridge, Schmueckle,

Sheeran, and von Storch. The Shelf Registration Statement registered for sale: (i) 186.6 million


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shares of Canoo common stock by certain selling security holders, including the Individual

Defendants and/or certain of their affiliates; (ii) 22.5 million shares of Canoo common stock

issuable upon the exercise of the public warrants by the holders thereof; and (iii) 1.8 million

shares of Canoo common stock issuable upon the exercise of the private placement warrants by

the holders thereof.

       107.    The false and misleading Shelf Registration Statement claimed that Canoo

Holdings’ engineering and technology services business was “supportive of a projected $120

million of revenue in 2021.” Specifically, the Shelf Registration Statement stated:

       ENGINEERING AND TECHNOLOGY SERVICES

       Our engineering and technology services business covers all the material
       consulting and contract engineering work that is in high demand due to our team’s
       specialized experience and technical capabilities in EV development. This
       business offers a unique opportunity to generate immediate revenues in advance
       of the offering of our first vehicles and our current pipeline in this area is
       supportive of a projected $120 million of revenue in 2021. We expect our
       engineering and technology services business to offer significant growth potential
       in the future as projected demand grows for EVs and their related technologies,
       namely in platform/skateboard development, powertrain, battery technologies and
       power electronics, among other areas, in which we have substantial expertise. In
       addition to providing external commercial validation of our technical capabilities,
       these contract engagements establish an attractive strategic pipeline for future
       business opportunities and de-risk our overall business model.

       Our pipeline for engineering services includes EV concept design and engineering
       services for other OEMs, autonomous driving strategics and high growth
       technology companies. There is a significant market for contract engineering
       services among legacy OEMs who lack the expertise to develop an electric
       powertrain at the pace needed to capitalize on the rising regulatory requirements
       and global demand for EVs. We are at a distinct competitive advantage to
       capitalize on this growing demand. In fact, whereas other new EV entrants are
       forced to license key technologies and/or outsource primary engineering
       development to larger OEMs, we have already received significant OEM interest
       in our skateboard technology and our team’s expertise in platform engineering,
       powertrains and vehicle design, as is exemplified by the announcement of an
       agreement between us and Hyundai Motor Group for the co-development of a
       future EV platform based on our modular skateboard technology.




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       Contract engineering opportunities serve as concrete points of external validation
       for our technology and the talent of our team, as well as provide additional sources
       of revenue and long-term commercial opportunities (such as skateboard and
       technology licensing) as the relationship matures. We are also in discussions with
       a number of other partners and expect to be in a position to announce many more
       partnerships in due course.

       108.    Concerning the Company’s relationship with Hyundai, the Shelf Registration

Statement represented, in pertinent part:

       In February 2020, we entered into an agreement with Hyundai Motor Group to
       co-develop a future EV platform based on our modular and scalable skateboard
       technology, providing further validation of our technical leadership. The
       agreement provides for the co-development of a platform for a small segment
       electric vehicle for which the intellectual property developed will be jointly
       owned by us and Hyundai Motor Group. The agreement provides that it may be
       terminated for convenience by either party; however, certain provisions, including
       with respect to the joint-ownership of intellectual property, survive any such
       termination.

                                        *       *       *

       In February 2020, we entered into a strategic partnership agreement with Hyundai
       Motor Group to co-develop a future EV platform based on our modular and
       scalable skateboard technology, providing external validation of our technical
       leadership. The agreement provides for the co-development of a platform for a
       small segment electric vehicle for which the intellectual property developed will
       be jointly owned by us and Hyundai Motor Group. The agreement provides that
       it may be terminated for convenience by either party; however, certain provisions,
       including with respect to the joint-ownership of intellectual property, survive any
       such termination. We are also currently in discussions with multiple other blue-
       chip industry participants interested in leveraging our technologies and
       engineering expertise for their own commercial products.

       109.    The statements in the Shelf Registration Statement concerning Canoo’s

engineering service revenues and the Company’s relationship with Hyundai were false and

materially misleading for the reasons set forth at ¶¶83, 111-119, herein.

       110.    As early 2021 unfolded, Canoo continued to aggressively promote its business.

On March 10, 2021, the Company announced plans to produce an all-electric pickup truck. The

press release stated that Canoo “debuted today its fully-electric pickup truck during the Motor



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Press Guild’s Virtual Media Day (VMD) in partnership with Automobility LA.” “The pickup

truck is the third vehicle that will be based on the company’s proprietary multi-purpose platform

architecture,” the press release stated, “enabling the accelerated development timeline,” with

preorder for the production version of the pickup opening in Q2 2021, with deliveries beginning

as early as 2023.” “The production version of the pickup truck will open for preorders in Q2

2021, with deliveries beginning as early as 2023,” the press release concluded.

The Truth Emerges

       111.    Defendants’ unlawful scheme continued until late March 2021. Then, on March

29, 2021, Canoo issued a press release announcing its 2020 fourth quarter and full year financial

results. Evidencing the Company’s abandonment of its engineering services line of business and

the curtailment of its arrangement with Hyundai by no later than the beginning of the fourth

quarter of 2020, Canoo reported no engineering services revenue during the fourth quarter of

2020, after having reporting $2.55 million in engineering services revenue during the first nine

months of 2020. The Company also announced that defendant Balciunas, who served as Canoo’s

CFO following the close of the Merger, resigned effective April 2, 2021.

       112.    On the same date, Canoo held an earnings conference call with analysts and

investors to discuss the Company’s operations and earnings release. During the call, defendant

Aquila for the first time revealed that the Company decided to “de-emphasize the originally stated

contract engineering services line” and that its highly touted arrangement with Hyundai had been

placed “on hold.”

       113.    While stockholders had previously been told that the engineering services

business was “very important part of our overall strategy” and that it provided “a unique

opportunity to generate immediate revenues,” defendant Aquila now claimed that contract




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manufacturing, i.e., engineering services, is “not the best business line to be in” and stated the

Company’s relationship with Hyundai had been suspended, stating, in pertinent part:

         Joseph Spak, Analyst [– RBC Capital Markets:]

         . . . Last one for me, just going back to the decision to the emphasize engineering.
         With the Hyundai arrangement, the original one, which I am assuming that’s now
         off the table, but if you go back to their release[] did say Hyundai gains access to
         technology. You mentioned IP leakages [as] one of the potential problems with
         that arrangement. Can you just talk about like how do you unwind that sort of I
         guess memorandum of understanding what work was done? Do you think there
         was any IP-related, [ph] obviously, Hyundai coming out with their own electric
         vehicle platforms as well?

         [Defendant Aquila:]

         I think what happened is pretty kind of case in point, right. So I think the
         Company just like any adolescent company is it’s learning, its way and all of us
         go through it. But it factored in contract manufacturing based on the labor of
         engineers, not based on the value of IP, which would change the value of that
         contract significantly. And look we have experience in this area and we’re very
         focused on, if we do work, one we can protect our IP and we can get the residual
         value of that in addition to.

         So it’s kind of caused us to say, hey, let’s put that on hold, we have so much
         demand for our three derivatives, let’s get all that work done, and then let’s look
         at if there partnerships. Partnerships can work in this industry but contract
         manufacturing work is, as you know, is not the best business line to be in. And
         so was there some leakage? Well, I’ll leave it to you to make that decision. But
         obviously, I’m not a big fan of doing that type of business.

         114.   Securities analysts were quick to point out that the Company’s new strategy

contradicted defendants’ statements prior to, and after, the Merger. Analyst Craig Irwin from

Roth Capital Partners stated: “So I would acknowledge that these are significant surprises on the

call today, and that’s not ideal after a SPAC – the IPO process. So I just wanted to underline

that.”

         115.   The following exchange between Craig Irwin and defendant Aquila transpired:

         Craig Irwin, Analyst [– Roth Capital Partners:]




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       . . . So Tony, you talked about how engineering IP broadens your TAM [i.e., total
       addressable market], but then you announced that you’re de-emphasizing your
       engineering services. Can you help us resolve that and maybe give us a little bit
       more color about why you would deemphasize engineering given that the original
       story was it would subsidize the development and broaden the partner opportunity
       with potentially multiple hats under license?

       [Defendant Aquila:]

       . . . I would say that from a Company perspective, it was a contradiction. It hasn’t
       been a contradiction from my statement. Look, as I overly – as I said in the
       remarks, we look into this and it kind of goes us to your first question too with the
       talent war and everything. Just $25 million, it would yield us, we at the Board
       really feel like the best thing to do is to accelerate our derivatives and focus our
       talent on creating IP for the Company.

       116.    Craig Irwin also questioned management about the Company’s 2021 engineering

services revenue guidance of $120 million given abandonment of the engineering services

business, asking whether the “original SPAC model is no longer guidance going forward.”

Defendant Aquila appeared to confirm the analyst’s suspicion, stating, in pertinent part:

       [A]t this point, it doesn’t make sense to give guidance until we complete the work
       that we have started. And with all that’s going on in the SPAC world, in the pre-
       revenue side, we want to be very conservative. . . . Certainly, I do acknowledge
       your point Craig that you got so to speak as you mentioned, showed a different
       model. But this model is better from a return on capital basis.

       117.    In an exchange with another securities analyst, defendant Aquila acknowledged

that defendants had been “presumptuous” and that their prior statements were “aggressive” and

“premature,” stating, in pertinent part:

       Steve Sakanos, Analyst [– Cronos Capital:]

       Hi. And last year – during the course of the year, you stated a couple of times that
       you had under discussion with some OEMs and possibly the contract
       manufacturer. You said that there are going to be some announcements by the
       end of Q4. I’m just wondering what happened that changed all of that?

       [Defendant Aquila:]

       Right. So you’re again owning the past as much as the present in the future. Look,
       I can only speak to what I know about this. I think that they were focused on



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       maybe a little more aggressive than I would be in their statements. I think more
       maturity of this team would not be that presumptuous. We only announced what
       is contracted. But yeah, I think they had the opportunities but they weren’t at our
       standard of representation to the public markets.

                                         *      *       *

       And then with respect to contract manufacturing, again we wouldn’t make an
       announcement. Again, this comes back to having an experienced public company
       team here to be careful of the statements you make. So again, I think it was a little
       premature.

       118.    Sensing the discontent of the analyst community, defendant Aquila offered an

apology, “[a]nd again I apologize to anybody. As a leader, you always own the past before the

present or the future. And so I take everyone’s comments in all three categories.”

       119.    On this news, the trading price of Canoo common stock crashed more than 21%

in a single day, down from $11.80 per share on March 29, 2021 to $9.30 per share on March 30,

2021, eventually falling to $8.47 per share on April 5, 2021, wiping out more than $1.6 billion

in once valuable shareholders’ equity.

                                    DAMAGES TO CANOO

       120.    As a result of the Individual Defendants’ improprieties, Canoo disseminated

improper public statements concerning its business, operations and prospects. These improper

statements have devastated Canoo’s credibility and caused the Company to lose more than $1.6

billion in market capitalization.

       121.    These actions have irreparably damaged Canoo’s corporate image and goodwill.

For at least the foreseeable future, the Company will suffer from what is known as the “liar’s

discount,” a term applied to the stock of companies who have been implicated in misleading the

investing public, such that Canoo’s ability to raise equity capital or debt on favorable terms in

the future is now and will continue to be impaired. The Company stands to incur higher marginal

costs of capital and debt because of the misconduct.


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       122.    The Individual Defendants’ improper course of conduct has also subjected the

Company to potentially enormous damages in connection with the Securities Class Actions. The

Securities Class Actions allege that the Company and other top insiders violated federal securities

laws by repeatedly misrepresenting the Company’s business, operations and prospects.

       123.    As a direct and proximate result of the Individual Defendants’ conduct, the

Company has needlessly expended, and will continue to expend, significant sums of money.

These expenditures include, without limitation: (i) costs and damages associated with the

overpayment for the acquisition of Canoo Holdings in the Merger; (ii) costs incurred in

connection with issuing false and misleading proxy solicitations seeking approval of the Merger;

(iii) costs incurred in investigating and defending Canoo and its top insiders in the Securities

Class Actions; (iv) lost sales and orders resulting from exposure of the Company’s misleading

disclosures regarding its business, operations and prospects; and (v) costs incurred from

compensation and benefits paid to the Individual Defendants, who have breached their fiduciary

duties to Canoo.

                                    DEFENDANTS’ DUTIES

The Individual Defendants’ Fiduciary Duties

       124.    By reason of their positions as officers and/or directors of Canoo and because of

their responsibility to control the business and corporate affairs of the Company, the Individual

Defendants owed, and owe, the Company and its stockholders the fiduciary obligations of good

faith, loyalty, due care, and candor and were, and are, required to use their utmost ability to

control and manage the Company in a just, honest, fair and equitable manner. Each Individual

Defendant owed, and owes, the Company and its stockholders the fiduciary duty to exercise good

faith and diligence in the administration of the affairs of the Company, as well as the highest

obligations of fair dealing and not to act in furtherance of their personal interest or benefit.


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       125.    Because of their positions of control and authority as officers and/or directors of

Canoo, the Individual Defendants were able to, and did, directly and/or indirectly, exercise

control over the wrongful acts complained of herein. Because of their advisory, executive,

managerial and directorial positions with Canoo, each of the Individual Defendants had

knowledge of material, nonpublic information regarding the Company. In addition, as officers

and/or directors of a publicly held company, the Individual Defendants had a duty to promptly

disseminate accurate and truthful information regarding the Company’s business, operations, and

prospects so that the market price of the Company’s stock would be based on truthful and

accurate information.

       126.    At all times relevant hereto, each of the Individual Defendants was the agent of

each of the other Individual Defendants and of Canoo and was at all times acting within the

course and scope of such agency.

       127.    To discharge their duties, the Individual Defendants were, and are, required to

exercise reasonable and prudent oversight and supervision over the management, policies,

practices and controls of Canoo. By virtue of such duties, the Individual Defendants were, and

are, required to, among other things:

               (a)      exercise good faith to ensure that the Company is operated in a diligent,

efficient, honest, and prudent manner and in accordance with all applicable laws (including

federal and state laws, government rules and regulations, and the Company’s certificate of

incorporation and bylaws);

               (b)      neither violate nor knowingly permit any officer, director, or employee of

Canoo to violate any applicable laws, rules or regulations;




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               (c)     remain informed as to the status of Canoo’s operations, and upon receipt

or notice of information of imprudent or unsound practices, to make a reasonable inquiry in

connection thereto and to take steps to correct such conditions or practices;

               (d)     establish and maintain systematic and accurate records and reports of the

business and affairs of Canoo and procedures for the reporting of the Company’s business and

affairs to the Board and to periodically investigate, or cause independent investigation to be made

of, said reports and records;

               (e)     maintain and implement an adequate, functioning system of internal

controls, such that the affairs and operations of Canoo are conducted in accordance with all

applicable laws, rules and regulations; and

               (f)     truthfully and accurately inform and guide investors and analysts with

respect to the business operations of the Company.

Duties Pursuant to the Company’s Corporate Governance Guidelines

       128.    The Company’s Corporate Governance Guidelines (“Governance Guidelines”)

were adopted by the Board, along with the certificate of incorporation, bylaws, and Board

committee charters, to form the framework for governance of the Company. These guidelines

apply to the Individual Defendants in connection with their membership on Canoo’s Board.

       129.    According to the Governance Guidelines, the role of the Board includes the

following:

       Stockholders select directors to provide oversight and strategic guidance to senior
       management. A director’s responsibility is to fulfill his or her fiduciary duties of
       care and loyalty, and otherwise to exercise his or her business judgment in the
       interests of the Company and its stakeholders. Board service requires significant
       time and attention. More specifically, the Board has responsibilities to review,
       approve, and monitor fundamental financial and business strategies and
       significant corporate actions, assess the Company’s major risks, and consider
       ways to address those risks, select and oversee management, and establish and
       oversee processes to maintain the Company’s integrity. To fulfill their duties,


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       directors must prepare for meetings and discussions with management, participate
       in Board meetings, review relevant materials, and serve on committees. The
       Company expects directors to maintain an attitude of constructive involvement
       and oversight, ask relevant and incisive questions, and demand honest and
       accurate answers. Directors must act with integrity and demonstrate a
       commitment to the Company, the Company’s values, business, and long-term
       stockholder value.

       130.   According to the Governance Guidelines, “Board Responsibilities” include the

following:

       A director should discharge his or her duties, including duties as a member of any
       committee on which he or she serves, in good faith and in a manner the director
       reasonably believes to be in the best interest of the Company and its stakeholders.
       Board members will comply with the laws and requirements of the Exchange and
       other applicable regulatory agencies and with all policies and guidelines of the
       Company, including without limitation, the Company’s Code of Conduct.

       Each director is expected to disclose promptly to the Board and respond promptly
       and accurately to periodic questionnaires or other inquiries from the Company
       regarding any existing or proposed relationships with the Company, including
       compensation and stock ownership, which could affect the independence of the
       director. Each director will also promptly inform the Board of any material
       change in such information, to the extent not already known by the Board.

       Board members are expected to devote sufficient time and attention to prepare
       for, attend, and participate in Board meetings and meetings of committees on
       which they serve, including advance review of meeting materials that may be
       circulated prior to each meeting.

       Directors have an obligation to protect and keep confidential all of the Company’s
       non-public information unless the Company has authorized public disclosure or
       unless otherwise required by applicable law. Confidential information includes
       all non-public information entrusted to or obtained by a director by reason of his
       or her position on the Board. This includes information regarding the Company’s
       strategy, business, finances, and operations, and will include minutes, reports, and
       materials of the Board and committees, and other documents identified as
       confidential by the Company. The obligations described above continue even
       after service on the Board has ended.

       Directors may not use such confidential information for personal benefit or to
       benefit other persons or entities other than the Company. Unless authorized by
       the Company or applicable law, directors will refrain from disclosing confidential
       information to anyone outside the Company, especially anyone affiliated with any
       entity or person that employs the director or has sponsored the director’s election
       to the Board. These obligations continue even after service on the Board has


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       ended. Any questions or concerns about potential disclosures should be directed
       to the Company’s In Charge of Legal, who then may communicate with the Chief
       Executive Officer or the Nominating and Corporate Governance Committee
       regarding the potential disclosures.

Duties Pursuant to the Company’s Code of Business Conduct and Ethics

       131.   The Individual Defendants were also bound by the Company’s code of business

conduct and ethics (the “Code of Conduct”), which applies to all Canoo directors, officers and

employees. Among other things, the Code of Conduct states the Company “is committed to

maintaining the highest standards of business conduct and ethics,” and “expect[s] every

employee, officer and director to . . . apply good judgment and the highest personal ethical

standards in making business decisions.”

       132.   Specifically, the Code of Conduct includes the following:

       1.     HONEST AND ETHICAL CONDUCT

       It is our policy to promote high standards of integrity by conducting our affairs in
       an honest and ethical manner. The Company’s integrity and reputation depends
       on the honesty, fairness and integrity brought to the job by each person associated
       with us. Unyielding personal integrity and sound judgment is the foundation of
       corporate integrity.

       2.     LEGAL COMPLIANCE

       Obeying the law is the foundation of this Code. Our success depends upon each
       employee operating within legal guidelines and cooperating with local, national
       and international authorities. We expect employees to understand the legal and
       regulatory requirements applicable to their business units and areas of
       responsibility. While we do not expect you to memorize every detail of these
       laws, rules and regulations, we want you to be able to determine when to seek
       advice from others. If you do have a question in the area of legal compliance, it
       is important that you not hesitate to seek answers from your supervisor or the
       Compliance Officer.

       Violation of domestic or foreign laws, rules and regulations may subject an
       individual, as well as the Company, to civil and/or criminal penalties.

       3.     INSIDER TRADING

       Employees, officers and directors who have access to confidential (or “inside”)
       information are not permitted to use or share that information for stock trading


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      purposes. All non-public information about the Company or about other
      companies is considered confidential information. To use material, non-public
      information in connection with buying or selling securities, including “tipping”
      others who might make an investment decision on the basis of this information, is
      illegal. Please refer to the Company’s Insider Trading Policy for more detailed
      information.

      4.     INTERNATIONAL BUSINESS LAWS

      Our employees, officers and directors are expected to comply with the applicable
      laws in all countries to which they travel, in which they operate and where we
      otherwise do business, including laws prohibiting bribery, corruption or the
      conduct of business with specified individuals, companies or countries. The fact
      that, in some countries, certain laws are not enforced or that violation of those
      laws is not subject to public criticism will not be accepted as an excuse for
      noncompliance. Please also refer to the Company’s Anti-Corruption Policy.

                                       *       *       *

      6.     ENVIRONMENTAL COMPLIANCE

      Federal law imposes criminal liability on any person or company that
      contaminates the environment with any hazardous substance that could cause
      injury to the community or environment. Violation of environmental laws can
      involve monetary fines and imprisonment. We expect employees to comply with
      all applicable environmental laws when conducting the business of the Company.

      7.     CONFLICTS OF INTEREST

      We expect our employees, officers and directors to be free from influences that
      conflict with the best interests of the Company or might deprive the Company of
      their undivided loyalty in business dealings. Even just the appearance of a conflict
      of interest can be damaging and should be avoided. Whether or not a conflict of
      interest exists can be unclear. The following are some (but not all) situations that
      may involve problematic conflicts of interests: (a) employment by, consulting for,
      or service on the board of a competitor, customer or supplier; (b) owning a
      significant financial interest in an entity that does business, seeks to do business
      or competes with us; (c) soliciting or accepting gifts, favors, loans or preferential
      treatment from any person or entity that does business or seeks to do business with
      us; (d) certain types of “moonlighting”; and (e) loans to, or guarantees of
      obligations of, employees, officers or directors or their family members by the
      Company. If you have any questions about a potential conflict or if you become
      aware of an actual or potential conflict, and you are not an officer or director, you
      should discuss the matter with your supervisor or the Compliance Officer.
      Supervisors may not authorize conflict of interest matters or make determinations
      as to whether a problematic conflict of interest exists without first seeking the
      approval of the Compliance Officer and providing the Compliance Officer with a



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       written description of the activity. If the supervisor is involved in the potential or
       actual conflict, you should discuss the matter directly with the Compliance
       Officer. Officers and directors may seek authorizations and determinations from
       the Nominating and Corporate Governance Committee (the “Committee”) of the
       Company’s Board of Directors (the “Board”), or such other committee of the
       Board that the Board may expressly designate.

       8.     CORPORATE OPPORTUNITIES

       You may not take personal advantage of opportunities for the Company that are
       presented to you or discovered by you as a result of your position with us or
       through your use of corporate property or information. Even opportunities that
       are acquired privately by you may be questionable if they are related to our
       existing or proposed lines of business. Significant participation in an investment
       or outside business opportunity that is directly related to our lines of business must
       be pre-approved. You may not use your position with us or corporate property or
       information for improper personal gain, nor should you compete with us in any
       way.

       9.     FINANCIAL INTEGRITY

       The integrity of our records and public disclosure depends upon the validity,
       accuracy and completeness of the information supporting the entries to our books
       of account. Therefore, our corporate and business records should be completed
       accurately and honestly. The making of false or misleading entries is strictly
       prohibited. Our records serve as a basis for managing our business and are
       important in meeting our obligations to customers, suppliers, creditors, employees
       and others. We also rely upon our accounting and other business and corporate
       records in preparing publicly filed reports. Securities laws require that these
       reports provide full, fair, accurate, timely and understandable disclosure and fairly
       present our financial condition and results of operations. Employees who
       contribute in any way in preparing or verifying these reports should strive to
       ensure that our financial disclosure is complete, accurate and transparent. Any
       employee who becomes aware of any departure from these standards has a
       responsibility to report his or her knowledge promptly to a supervisor, the
       Compliance Officer, the Audit Committee or one of the other compliance
       resources described in Section 16.

Additional Duties of the Individual Defendants Serving on the Audit Committee

       133.   In addition to the fiduciary duties discussed above, the Individual Defendants

serving on the Audit Committee owed specific duties to Canoo under the Charter of the Audit

Committee of the Board of Directors (the “Audit Charter”). According to the Audit Charter, the

purpose of the Audit Committee is to “oversee the Company’s accounting and financial reporting


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processes, systems of internal control, financial statement audits and the integrity of Canoo’s

financial statements,” “help the Board oversee the Company’s legal and regulatory compliance,

including risk assessment,” and “provide regular reports and information to the Board.”

       134.   The Audit Charter charges the Individual Defendants serving on the Audit

Committee with the following duties and responsibilities, among others:

       Audited Financial Statement Review; Quarterly and Annual Reports. The
       Committee will review the annual audited financial statements, the quarterly
       financial statements and the Company’s “Management’s Discussion and Analysis
       of Financial Condition and Results of Operations” and “Risk Factors,” as
       appropriate, with management and the Auditors. The Committee will be
       responsible for recommending to the Board whether the proposed annual audited
       financial statements should be included in the Company’s Annual Report on Form
       10-K.

       . . . Earnings Announcements. The Committee will review and discuss with
       management and the Auditors any proposed earnings press releases and other
       financial information and guidance regarding the Company’s results of operations
       provided publicly or to ratings agencies (including, without limitation, reviewing
       any pro forma or non-GAAP information).

       . . . Proxy Report. The Committee will oversee the preparation of any report of
       the Committee required by applicable law or stock exchange listing requirements
       to be included in the Company’s annual proxy statement.

                                        *      *       *

       Internal Control over Financial Reporting; Disclosure Controls. The
       Committee will confer with management and the Auditors concerning the scope,
       design, adequacy and effectiveness of internal control over financial reporting and
       the Company’s disclosure controls and procedures. The Committee will review
       reports on significant findings and recommendations with respect to internal
       controls over financial reporting, together with management responses and any
       special audit steps adopted in light of any material control deficiencies.

                                        *      *       *

       Ethical Compliance. The Committee will review the results of management’s
       efforts to monitor compliance with the Company’s programs and policies
       designed to ensure compliance with applicable laws and stock exchange listing
       requirements, including the Company’s Code of Conduct (“Code”). The
       Committee will consider any request by directors or executive officers of the




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       Company for a waiver from the Code. Any approved waivers shall be promptly
       disclosed as required by applicable law and stock exchange listing requirements.

       . . . Related Party Transactions. The Committee will review and approve, in
       accordance with the Company’s policies, any related party transaction as defined
       by applicable law or stock exchange listing requirements.

                                DERIVATIVE ALLEGATIONS

       135.     Plaintiff brings this action derivatively in its own right and for the benefit of the

Company to redress injuries suffered, and to be suffered, by Canoo as a direct result of the

violations of the federal securities laws, breaches of fiduciary duty, and unjust enrichment by the

Individual Defendants.

       136.     Canoo is named as a nominal defendant in this case solely in a derivative capacity.

This is not a collusive action to confer jurisdiction on this Court that it would not otherwise have.

       137.     Because current members of the Canoo Board lack independence and/or face a

substantial likelihood of liability for the acts and omissions complained of herein, prosecution of

this action, independent of the current Board, is in the best interests of the Company and its

stockholders.

       138.     The wrongful acts complained of herein subjected, and continue to subject, Canoo

to harm.

                                  FUTILITY ALLEGATIONS

       139.     Plaintiff incorporates ¶¶1-138.

       140.     Canoo’s current nine-person Board consists of defendants Aquila, Dattilo,

Chiang, Ethridge, Schmueckle, Sheeran, and von Storch and non-defendants Arthur Kingsbury

and Claudia Romo Edelman (the “Demand Board”). Plaintiff has not made any demand on the

Demand Board to institute this action because such a demand would be a futile and useless act.




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Demand Is Excused as to Defendants Aquila and Ethridge Because They Lack
Independence

       141.   Canoo has conceded in its SEC filings that defendants Aquila and Ethridge are

not independent directors. Specifically, in the Company’s November 27, 2020 Amended SEC

Form S-4 and 2021 Proxy Statement, dated April 29, 2021, Canoo concedes that the Board did

not find defendants Aquila and Ethridge to be independent under the NASDAQ’s listing rules.

Furthermore, defendants Aquila and Ethridge are not independent directors because each of their

principal professional occupation is their employment with Canoo.

       142.   Defendants Aquila and Ethridge have received and continue to receive substantial

monetary compensation and other benefits connected to the Merger and/or executive roles at

Canoo. For example, defendant Aquila, who has served as Executive Chairman of the Company

since before the Merger, and currently serves as CEO of Canoo, has received $35,617,564 in

compensation and other benefits from Canoo connected to the Merger and his executive position

at the Company. Similarly, defendant Ethridge, who previously served as President, Chief

Operating Officer and a Director of HCAC IV (Canoo’s predecessor), received $500,000 from

the Company the Merger’s completion.

       143.   Defendants Aquila and Ethridge each hold a significant percentage of Canoo’s

outstanding common stock (12,394,387 and 354,160, respectively) which was worth

$107,955,111 and $3,084,733, respectively, as of April 23, 2021. This lack of independence

renders defendants Aquila and Ethridge incapable of impartially considering a demand to

commence and vigorously prosecute this action.

Demand Is Excused Because All Demand Board Members Face a Substantial Likelihood
of Liability for Their Misconduct

       144.   As set forth herein, Demand Board members defendants Aquila, Dattilo, Chiang,

Ethridge, Schmueckle, Sheeran, and von Storch breached their fiduciary duties of loyalty and


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good faith by making or allowing to be made improper statements in Canoo’s (and/or HCAC

IV’s) SEC filings, press releases and other public statements. Notably, these defendants signed

the Company’s false and misleading January 12, 2021 Shelf Registration Statement which

registered for sale Canoo shares and which misrepresented and/or omitted material fact around

the revenues derived from the Company’s engineering and technology services business and the

status of Canoo’s relationship with Hyundai.

       145.    Demand Board members defendants Dattilo, Schmueckle and von Storch, as

members of the Audit Committee, had a duty to adequately oversee Canoo’s compliance with

legal and regulatory requirements, including public disclosure controls and procedures, as well

as its risk assessment and management, and internal control functions. Thus, defendants Dattilo,

Schmueckle, and von Storch were responsible for knowingly or recklessly allowing the improper

statements contained in the false and misleading January 12, 2021 Shelf Registration Statement

and Canoo’s other post-Merger communications. Defendants Dattilo, Schmueckle, and von

Storch breached their fiduciary duty of loyalty and good faith by approving or otherwise allowing

the improper statements, and therefore failed to properly oversee Canoo’s compliance with legal

and regulatory requirements, risk assessment, and the Company’s internal controls.

       146.    Demand Board members defendants Aquila and Ethridge further violated §14(a)

of the Exchange Act by negligently making material misstatements and omitting material facts

in connection with their proxy solicitations connected to the Merger, as described herein.

       147.    Defendants Aquila and Ethridge are also named as defendants in the pending

Securities Class Actions which allege that they violated §§10(b) and 20(a) of the Exchange Act

by affirmatively making false and misleading statements and/or controlling Canoo and its alleged

§10(b) violations.




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          148.   Accordingly, a majority of the members of the Demand Board, seven of nine

directors, face a substantial likelihood of liability for their breaches of fiduciary duty and

violations of state and federal law, making any demand upon them futile.

                         CONSPIRACY, AIDING AND ABETTING,
                             AND CONCERTED ACTION

          149.   In committing the wrongful acts alleged herein, the Individual Defendants

pursued, or joined in the pursuit of, a common course of conduct and acted in concert with and

conspired with one another in furtherance of their common plan or design. In addition to the

wrongful conduct alleged herein as giving rise to primary liability, the Individual Defendants

further aided and abetted and/or assisted each other in breaching their respective duties.

          150.   During all times relevant hereto, the Individual Defendants, collectively and

individually, initiated a course of conduct that was designed to and did: (i) deceive the investing

public, including stockholders of Canoo (and its predecessor), regarding the Company’s

business, operations and prospects; and (ii) enhance the Individual Defendants’ executive and

directorial positions at Canoo and the profits, power, and prestige that the Individual Defendants

enjoyed as a result of holding these positions. In furtherance of this plan, conspiracy and course

of conduct, the Individual Defendants, collectively and individually, took the actions set forth

herein.

          151.   The Individual Defendants engaged in a conspiracy, common enterprise and/or

common course of conduct. During this time, the Individual Defendants caused and/or allowed

the Company to issue improper public statements.

          152.   The purpose and effect of the Individual Defendants’ conspiracy, common

enterprise and/or common course of conduct was, among other things, to disguise the Individual




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Defendants’ violations of law, breaches of fiduciary duty and unjust enrichment, and to conceal

adverse information concerning the Company’s business, operations and prospects.

       153.    The Individual Defendants accomplished their conspiracy, common enterprise

and/or common course of conduct by causing the Company to release improper statements.

Because the actions described herein occurred under the authority of the Board, each of the

Individual Defendants was a direct, necessary, and substantial participant in the conspiracy,

common enterprise and/or common course of conduct complained of herein.

       154.    Each of the Individual Defendants aided and abetted and rendered substantial

assistance in the wrongs complained of herein. In taking such actions to substantially assist the

commission of the wrongdoing complained of herein, each Individual Defendant acted with

knowledge of the primary wrongdoing, substantially assisted in the accomplishment of that

wrongdoing, and was aware of his or her overall contribution to and furtherance of the

wrongdoing.

                                           COUNT I

                     Violations of §§14(a) and 20(a) of the Exchange Act
                               (Against the Proxy Defendants)

       155.    Plaintiff incorporates ¶¶1-110 (except as set forth in the following ¶156), as

though fully set forth herein.

       156.    The “Proxy Defendants” are defendants Hennessy, Petruska, Bell, Shea, Burns,

O’Neil, Mas, McClain, Ethridge, Kranz, Aquila, Balciunas, HCP IV Sponsor and HC LLC.

       157.    The §§14(a) and 20(a) Exchange Act claims alleged herein are based solely on

negligence. They are not based on any allegation of reckless or knowing conduct by or on behalf

of the Individual Defendants. The §§14(a) and 20(a) Exchange Act claims alleged herein do not

allege and do not sound in fraud. Plaintiff specifically disclaims any allegation of reliance upon



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any allegation of, or reference to any allegation of fraud, scienter or recklessness with regard to

these non-fraud claims.

       158.    Section 14(a) of the Exchange Act, 15 U.S.C. §78n(a)(1), provides:

       It shall be unlawful for any person, by use of the mails or by any means or
       instrumentality of interstate commerce or of any facility of a national securities
       exchange or otherwise, in contravention of such rules and regulations as the [SEC]
       may prescribe as necessary or appropriate in the public interest or for the
       protection of investors, to solicit or to permit the use of his [or her] name to solicit
       any proxy or consent or authorization in respect of any security (other than an
       exempted security) registered pursuant to section 12 of this title [15 U.S.C. §78l].

       159.    Rule 14a-9, promulgated pursuant to §14(a) of the Exchange Act, provides that

no proxy solicitation shall contain “any statement which, at the time and in the light of the

circumstances under which it is made, is false or misleading with respect to any material fact, or

which omits to state any material fact necessary in order to make the statements therein not false

or misleading.” 17 C.F.R. §240.14a-9.

       160.    Between at least August 18, 2020 and March 29, 2021, the Proxy Defendants

solicited stockholder votes in favor of the Merger through use of materially false and misleading

statements and failures to disclose in their proxy solicitations as set forth at ¶¶74-110, above. In

soliciting stockholder votes, the Proxy Defendants misrepresented and failed to disclose the

following true facts about the Company’s business, operations and prospects:

               (a)     Canoo Holdings had already, or was in the process of, abandoning its

engineering services business;

               (b)     Canoo Holdings was no longer generating engineering services revenues;

               (c)     Canoo Holdings had already, or was in the process of, curtailing its

arrangement with Hyundai; and




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               (d)    that as a result of the foregoing, the Proxy Defendants’ statements about

Canoo Holdings’ financial projections, its relationship with Hyundai, business, operations, and

prospects were materially misleading and/or lacked reasonable basis.

       161.    The Proxy Defendants negligently issued, caused to be issued, and participated in

the issuance of materially false and misleading statements to stockholders, which were made for

the purpose of soliciting stockholder votes to approve HCAC IV’s acquisition of Canoo in the

Merger. In the exercise of reasonable care, the Proxy Defendants should have known that by

misrepresenting or failing to disclose the foregoing material facts, the statements made would be

rendered materially false and misleading.

       162.    The proxy solicitation process was an essential link in the approval of the Merger.

The misrepresentations and omissions were material to HCAC IV stockholders in voting on the

matters set forth for stockholder determination, including the approval of the Merger.

       163.    As a direct and proximate result of the Proxy Defendants’ wrongful conduct,

HCAC IV, Canoo Holdings, and the Proxy Defendants misled and/or deceived Canoo

stockholders by making materially false and misleading statements that were an essential link in

stockholders heeding the HCAC IV board of directors’ recommendation to approve the

acquisition of the Company.

       164.    Canoo was damaged as a result of the Proxy Defendants’ materially false and

misleading statements in their proxy solicitations. Plaintiff, on behalf of the Company, hereby

seeks relief for damages inflicted upon Canoo based upon the misleading proxy solicitations in

connection with the Merger approval of the acquisition of the Company by HCAC IV.

       165.    Because of their positions of control and their authority over HCAC IV and

Canoo, the Proxy Defendants were able to and did control the actions of the companies, their




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employees, and the contents of the proxy solicitations, as set forth herein. The Proxy Defendants

therefore qualify as “controlling persons” within the meaning of §20(a) of the Exchange Act. By

reason of the above conduct, the Proxy Defendants are also, or alternatively, liable as control

persons of Canoo (or its predecessor) pursuant to §20(a) of the Exchange Act.

                                            COUNT II

          For Contribution for Violations of §§10(b) and 21D of the Exchange Act
                     (Against the Securities Class Action Defendants)

       166.    Plaintiff incorporates ¶¶1-154.

       167.    The “Securities Class Action Defendants” are defendants Hennessy, Petruska,

Bell, Shea, Burns, O’Neil, Mas, McClain, Ethridge, Kranz, Aquila, Balciunas, HCP IV Sponsor

and HC LLC, who are named as defendants in the Securities Class Actions.

       168.    Canoo is named as a defendant in the Securities Class Actions, which assert

claims under the federal securities laws for violations of §10(b) of the Exchange Act. If the

Company is found liable for violating the federal securities laws, the Company’s liability will

arise, in whole or in part, from the intentional, knowing, or reckless acts or omissions of some or

all of these defendants as alleged herein. The Company is entitled to receive contribution from

the Securities Class Action Defendants in connection with the Securities Class Actions against

the Company.

       169.    The Securities Class Action Defendants, as directors and officers and otherwise,

had the power and/or ability to, and did, directly or indirectly, control or influence the Company’s

general affairs, including the content of public statements about Canoo, and had the power and/or

ability, directly or indirectly, to control or influence the specific corporate statements and conduct

that violated §10(b) of the Exchange Act and Rule 10b-5.




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       170.    The Securities Class Action Defendants are liable under §21D of the Exchange

Act, 15 U.S.C. §78u-4(f), which governs the application of any private right of action for

contribution asserted pursuant to the Exchange Act.

       171.    As a result, the Securities Class Action Defendants damaged Canoo and are liable

to the Company for contribution.

                                           COUNT III

                                  Breach of Fiduciary Duties
                              (Against the Individual Defendants)

       172.    Plaintiff incorporates ¶¶1-154.

       173.    The conduct of the Individual Defendants complained of herein involves a

knowing and culpable violation of their obligations as officers of Canoo, the absence of good

faith on their part, and a reckless disregard for their duties to the Company that the Individual

Defendants were aware, or reckless in not being aware, posed a risk of serious injury to Canoo.

       174.    The Individual Defendants owed fiduciary duties to Canoo and its stockholders.

By reason of their positions as fiduciaries to and/or controlling persons of the Company, the

Individual Defendants owed duties of good faith, loyalty, candor and truthful disclosure. In

addition, the Individual Defendants had specific fiduciary duties as defined by the Company’s

corporate governance documents, and principles that, had they been discharged in accordance

with the Individual Defendants’ obligations, would have prevented the misconduct and the

consequent harm to Canoo.

       175.    The Individual Defendants consciously breached their fiduciary duties and

violated their corporate responsibilities in at least the following ways:

               (a)     Affirmatively making, allowing, controlling, and/or failing to correct

improper and misleading statements in Canoo’s press releases, SEC filings, conference calls, and



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other public statements, relating to, among other things, the Company’s business, operations and

prospects;

               (b)     Failing to ensure the Company’s compliance with relevant legal and

regulatory requirements, as well as its own internal policies and procedures, including, but not

limited to, requirements imposed under federal and state securities laws;

               (c)     Failing to implement, maintain and monitor adequate internal controls;

and

               (d)     Paying or causing Canoo to pay themselves compensation while in breach

of their fiduciary duties, which also included share-based compensation awarded at share prices

that were artificially inflated by their misconduct.

       176.    As the Individual Defendants breached their fiduciary obligations, the Company

has sustained significant damages. Accordingly, the Individual Defendants are liable to Canoo.

       177.    In addition, each of the Individual Defendants had actual knowledge of the

Individual Defendants’ breaches of fiduciary duties, knowingly participated in the breaches, and

the Company has sustained significant damage as a result.          Accordingly, the Individual

Defendants are further liable to Canoo for aiding and abetting their fellow defendants’ breaches.

       178.    Plaintiff, on behalf of Canoo, has no adequate remedy at law.

                                           COUNT IV

                                      Unjust Enrichment
                              (Against the Individual Defendants)

       179.    Plaintiff incorporates ¶¶1-154.

       180.    By their wrongful acts and omissions, the Individual Defendants were unjustly

enriched at the expense of and to the detriment of Canoo. The Individual Defendants were




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unjustly enriched as a result of the compensation and officer and director remuneration they

received while breaching their fiduciary duties.

       181.    The Individual Defendants sold Canoo stock while in possession of material,

adverse nonpublic information that artificially inflated the price of Canoo stock. As a result, the

Individual Defendants profited from their misconduct and were unjustly enriched through their

exploitation of material and adverse inside information.

       182.    Plaintiff, as a stockholder and representative of Canoo, seeks restitution from the

Individual Defendants, and each of them, and seeks an order of this Court disgorging all profits,

benefits and other compensation obtained by the Individual Defendants, and each of them, from

their wrongful conduct and fiduciary breaches.

       183.    Plaintiff, on behalf of Canoo, has no adequate remedy at law.

                                   PRAYER FOR RELIEF

       WHEREFORE, plaintiff demands judgment as follows:

       A.      Finding that a stockholder demand on the Demand Board would have been a futile

and useless act;

       B.      Finding that the Individual Defendants violated the federal securities laws,

breached their fiduciary duties to the Company, and were unjustly enriched;

       C.      Directing Canoo to take all necessary actions to reform and improve its corporate

governance and internal procedures to comply with applicable laws and to protect the Company

and its stockholders from a repeat of the damaging events described herein, including, but not

limited to, putting forward for stockholder vote resolutions for amendments to Canoo’s bylaws

or articles of incorporation, and taking such other action as may be necessary to place before

stockholders for a vote the following corporate governance proposals or policies:




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       •       a proposal to appropriately test, and then strengthen, the Company’s internal-
               operational control functions;

       •       a proposal to appropriately test, and then strengthen, Canoo’s disclosure controls
               to ensure that all material information is adequately and timely disclosed to the
               SEC and the public;

       •       a proposal to strengthen the Board’s supervision of operations and compliance
               with applicable state and federal laws and regulations;

       •       a proposal to develop and implement procedures for greater stockholder input into
               the policies and guidelines of the Board; and

       •       a proposal to require an independent Chairman of the Board; a proposal to
               declassify the Board; and a proposal to permit the stockholders of the Company
               to nominate three candidates for election to the Board;

       D.      Against each of the Individual Defendants in favor of Canoo for the amount of

damages sustained by the Company (and its predecessor company), jointly and severally, in an

amount to be determined at trial, together with pre- and post-judgment interest at the maximum

legal rate allowable by law;

       E.      Requiring the Individual Defendants to return to Canoo all compensation and

remuneration of whatever kind paid to them by the Company (or its predecessor company) during

the time that they were in breach of the fiduciary duties;

       F.      Directing the Individual Defendants to establish, maintain, and fully fund

effective corporate governance and compliance programs to ensure that Canoo’s directors,

officers, and employees do not engage in wrongful or illegal practices;

       G.      Granting appropriate equitable and/or injunctive relief to remedy the Individual

Defendants’ misconduct, as permitted by law;

       H.      Awarding to plaintiff the costs and disbursements of this action, including

reasonable attorneys’ and experts’ fees and expenses; and

       I.      Granting such other and further relief as this Court deems just and equitable.



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                                       JURY DEMAND

       Plaintiff demands a trial by jury.

                                                ANDREWS & SPRINGER LLC

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 Dated: June 25, 2021




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